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                                                                            E-FILED
                                               Tuesday, 18 October, 2016 08:59:58 PM
                                                        Clerk, U.S. District Court, ILCD




                 Exhibit 1
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                  In The Matter Of:
                SAJIDA AHAD, M.D. VS
           SOUTHERN IL SCHOOL OF MEDICINE




                     WENDY COX-LARGENT
                        August 25, 2016




           ADVANTAGE REPORTING SERVICE
          110 S.W. JEFFERSON AVE., SUITE 430
                    PEORIA, IL 61602
         PHONE: 309-673-1881 FAX: 309-673-0341
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         SAJIDA AHAD, M.D. VS SOUTHERN IL SCHOOL OF MEDICINE

                                                                   1

 1             IN THE UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF ILLINOIS
 2                     SPRINGFIELD DIVISION

 3
     SAJIDA AHAD, M.D., on                  )
 4   behalf of herself and all              )
     others similarly situated,             )
 5                                          )
          Plaintiff,                        )
 6                                          )
          -vs-                              )   No. 3:15-CV-3308
 7                                          )
     SOUTHERN ILLINOIS SCHOOL OF            )
 8   MEDICINE, et al.,                      )
                                            )
 9        Defendants.                       )
10

11
12

13
                   THE VIDEOTAPED DEPOSITION of WENDY
14   COX-LARGENT, the deponent herein, called by the
     Plaintiff for examination pursuant to notice and
15   pursuant to the provisions of the Code of Civil
     Procedure and the Rules of the Supreme Court
16   thereof pertaining to the taking of depositions,
     taken before me, Jill A. Bleskey, CSR-RPR, License
17   No. 084-004430, a Notary Public in and for the
     State of Illinois, at Hepler Broom, LLC, 4340 Acer
18   Grove Drive, Suite A, in the City of Springfield,
     County of Sangamon, and State of Illinois on the
19   25th day of August, A.D., 2016, commencing at 9:35
     a.m.
20
21        ---------------------------------------------

22                       Jill A. Bleskey, RPR
                           CSR #084-004430
23

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                                                                 2

 1                            APPEARANCES

 2   For the Plaintiff:

 3        THE WOOD LAW OFFICE, LLC
          Attorneys at Law
 4        303 West Madison Street, Suite 2650
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 5        (312)564-8600
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 6        BY: Mr. J. Bryan Wood
               Ms. Leslie N. Carter
 7
     For the Defendant:
 8
          HEPLER BROOM, LLC
 9        Attorneys at Law
          4340 Acer Grove Drive, Suite A
10        Springfield, Illinois 62711
          (217)528-3674
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12             Mr. Christopher P. Clasby

13        SIU SCHOOL OF MEDICINE
          Office of the General Counsel
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          Springfield, Illinois 62794
15        (217)545-6601
          BY: Mr. Frank E. Martinez
16
     Also Present:     Nelson Weichold
17
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      Mr. Wood                                              4
20
21

22

23

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20
21

22

23

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                                                                        4

 1                    (At which time Cox-Largent Deposition

 2   Exhibit Numbers 1 through 5 were marked for

 3   identification and the following proceedings were

 4   conducted;)

 5                       WENDY COX-LARGENT,

 6                    The witness, having been first duly

 7   sworn upon her oath, testified as follows:

 8                    EXAMINATION CONDUCTED

 9                    BY:    MR. WOOD
10          Q.        Good morning, Ms. Cox-Largent.

11          A.        Morning.
12          Q.        My name's Bryan Wood, I represent

13   Sajida Ahad in this matter.           Could you please state

14   and spell your full name for the record?

15          A.        Wendy Cox-Largent.            W-E-N-D-Y, C-O-X,
16   hyphen, L-A-R-G-E-N-T.

17          Q.        You've given depositions before,

18   correct?

19          A.        Yes.

20          Q.        Okay.    Just to go over a few rules to
21   make you feel comfortable.          If you need a break at

22   any point, please let me know.

23          A.        Okay.

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 1          Q.        It's important that we not talk over

 2   each other or your attorney, if he wants to make an

 3   objection to one of my questions.              The Court

 4   Reporter can only write down what one person is

 5   saying at a time.       It's important that you give

 6   audible answers.      Nods of the head won't be able to

 7   be picked up.     So if you can answer with yes or no

 8   instead of uh-huh or uh-uh that will make the

 9   record clearer as well.         If at any point in time
10   you don't understand any of my questions, please

11   feel free to ask me.       I want -- if you answer a
12   question I'm going to assume that you understood

13   what it was.

14                    Do you understand that you're here

15   today to testify on behalf of an organization?
16          A.        Yes.

17          Q.        And what organization is that?

18          A.        SIU School of Medicine.

19          Q.        You have worked for SIU School of

20   Medicine for a number of years; is that correct?
21          A.        Yes.

22          Q.        How long have you worked there?

23          A.        A little more than eight years.

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 1          Q.        What was your first position?

 2          A.        I was the Chief Financial Officer for

 3   SIU Physicians and Surgeons.

 4          Q.        And what was your -- how long did you

 5   hold that position?

 6          A.        A little less than five years.

 7          Q.        And what was the next position that

 8   you've held?

 9          A.        Associate Provost for Finance and
10   Administration.

11          Q.        And is that your current position?
12          A.        Yes, it is.

13          Q.        And when did you become the Associate

14   Provost for Finance and Administration?

15          A.        April of 2013, I believe.      2012.
16   Yeah, 2013.

17          Q.        What are your responsibilities as the

18   Associate Provost of Finance and Administration?

19          A.        I have a number of administrative

20   units that report directly to me including Finance,
21   HR, Facilities.      I'm responsible for the

22   administration in our Carbondale office that the

23   School of Medicine has.         I also serve as a primary

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 1   liaison with the University.           So I interact with

 2   the Chancellor's Office, prepare documents for the

 3   Board of Trustees.

 4          Q.        Any other administration units in the

 5   School of Medicine besides Finance, HR, and

 6   Facilities, and the Carbondale office that report

 7   to you?

 8          A.        Right now Public Affairs reports to

 9   me, and Alumni Affairs.
10          Q.        What were your responsibilities in

11   the position that you held as Chief Financial
12   Officer for SIU Physicians and Surgeons, Inc.?

13          A.        So I was the CFO and treasurer, so I

14   was responsible for the financial statements,

15   payroll, budgeting.       Over time I added additional
16   responsibilities including facilities on the

17   practice plan, preparing board documents, helping

18   put together minutes, agendas, materials.

19          Q.        Any -- other than the payroll

20   responsibilities, anything that you would consider
21   to be human resources responsibilities?

22          A.        Most of the human resource

23   responsibilities reside with the School of

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 1   Medicine, they're the primary employer.         But

 2   certainly, as it relates to the payroll function

 3   for the members, yes.          Contracting, physician

 4   contracting, member contracting, those kinds of

 5   things.

 6          Q.        If we could show you what has been

 7   marked as Deposition Exhibit 1.

 8          A.        Uh-huh.

 9          Q.        Take as much time as you need to
10   review it and please let me know when you're ready

11   to answer any questions.
12          A.        Yeah.    I can answer questions.

13          Q.        Have you seen this document or a

14   document like this before?

15          A.        Yes.
16          Q.        And when was that?

17          A.        I saw it on Monday, this past Monday.

18   I took a look at it yesterday.

19          Q.        This is, for the record, the revised

20   Notice of Deposition pursuant to Federal Rules of
21   Civil Procedure 30(b)(6) that is amended to include

22   today's date.      Ms. Cox-Largent, have you seen a

23   previous version of this document?

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 1          A.        I don't -- I don't recall.

 2                    THE WITNESS:        Is this the document

 3   that was changed for today or is this a different

 4   document from what I would have reviewed on Monday?

 5                    MR. WILSON:       It's what you reviewed

 6   on Monday.

 7                    THE WITNESS:        Okay.

 8                    MR. WILSON:       There was a change to

 9   the date.
10                    THE WITNESS:        Okay.

11                    MR. WILSON:       So you may have seen an
12   earlier draft --

13                    THE WITNESS:        Right, okay.

14                    MR. WILSON:       -- of this with the

15   topics.
16                    THE WITNESS:        Yes.

17                    BY:    MR. WOOD

18          Q.        Can you identify the topics in the

19   notice for which you understand that you're here to

20   testify today?
21          A.        I would talk about Subject Area 1.         I

22   could address the School of Medicine side of

23   compensation as well as terms of the Master

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                                                                   10

 1   Agreement.

 2           Q.       When you say compensation and the

 3   Master Agreement, I think you're referring to

 4   subsets of Topic Number 3; is that correct?

 5           A.       Yes.

 6           Q.       And can you point to the specific

 7   subsections?

 8           A.       Well, I would talk about Subset D.       I

 9   think just Subset D.
10           Q.       So is it correct that the subject

11   areas for which you've been designated as a
12   witness, as far as you understand, are all of the

13   subsets in subject area 1A through H and then also

14   subject area 3B?

15           A.       Yes.
16           Q.       You mentioned a meeting on Monday

17   where you first saw the notice and a meeting

18   yesterday, correct?

19           A.       Yes.    Not a meeting yesterday, I

20   reviewed the material yesterday.
21           Q.       Sorry, I might have misspoken about

22   that.    What steps did you take to make sure that

23   you were prepared to testify on behalf of the

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                                                                 11

 1   organization regarding the topics that you just

 2   identified?

 3            A.       I reviewed the materials that we

 4   provided.

 5            Q.       When you say you reviewed the

 6   materials that we provided, what are you referring

 7   to?

 8            A.       I'm referring to this document as

 9   well as I believe we produced a number of
10   documents, the organizational charts, spreadsheets,

11   Compensation Plan, Master Agreement, those kinds of
12   things.

13            Q.       Did you speak with anyone else in

14   preparing for the -- to testify on behalf of the

15   organization?
16            A.       Legal counsel.

17            Q.       Anyone else other than legal counsel?

18            A.       Nelson and I together spoke with

19   legal counsel.

20            Q.       You're referring to Dr. Weichold,
21   Nelson Weichold?

22            A.       Yes.

23            Q.       Which legal counsel were present?

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 1           A.       The current legal counsel in the

 2   room.

 3           Q.       Mr. Wilson and Mr. Martinez and --

 4                    MR. WOOD:      I'm sorry, I forgot your

 5   name.

 6                    MR. CLASBY:       Chris Clasby.

 7                    BY:    MR. WOOD.

 8           Q.       Mr. Clasby?

 9           A.       Yes, correct.
10           Q.       For the record, that is -- along with

11   Ms. Carter, Leslie Carter of my office and myself,
12   those are all the people in the room, correct?

13   Along with the Court Reporter.

14           A.       Yes.

15                    MR. WOOD:      Sorry, Ms. Bleskey.
16                    BY:    MR. WOOD

17           Q.       What information were you provided

18   that you believe was in order to help you prepare

19   to testify on behalf of the organization?

20                    MR. WILSON:       Enter an objection to
21   the extent that it calls for any communications

22   from counsel.      Certainly any documents that you

23   were given that you reviewed you can speak to.

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 1                    THE WITNESS:        So I -- we discussed

 2   documents and if I had questions on the documents

 3   I'd ask them.      I don't recall what specific

 4   questions I asked.

 5                    BY:    MR. WOOD

 6          Q.        Do you recall any specific pieces of

 7   information that you were provided?              And I'm not

 8   asking for legal advice, I'm asking for factual

 9   information that would fall into the categories of
10   the topics about which you're here to testify on

11   behalf of the organization.
12                    MR. WILSON:       Same objection as to

13   communications with counsel.           I'm going to instruct

14   you not to answer questions about conversations

15   with Counsel.      Certainly documents that you
16   reviewed, --

17                    THE WITNESS:        Right.

18                    MR. WILSON:       -- you're free to

19   identify.

20                    THE WITNESS:        Right.     So I reviewed
21   all the documents that we had provided to you and

22   made sure I understood where those documents came

23   from from our legal counsel.

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                                                                  14

 1                    BY:    MR. WOOD

 2          Q.        Did legal counsel -- without

 3   disclosing the substance of the communications, did

 4   legal counsel inform you of facts?

 5                    MR. WILSON:       Same objection.   Not

 6   going to get into discussions with legal counsel.

 7                    THE WITNESS:        Right.

 8                    BY:    MR. WOOD

 9          Q.        The only people that you met with to
10   prepare to testify on behalf of the organization

11   were legal counsel and Dr. Weichold, correct?
12          A.        Yes.

13          Q.        Okay.    I want to clarify a few

14   structural issues relating to some of the entities

15   that you have mentioned in previous answers.           And
16   specifically SIU Physician's and Surgeons, Inc.,

17   the Board of Trustees, and the SIU School of

18   Medicine.     When I asked you what your first

19   position was with the SIU School of Medicine you

20   said it was Chief Financial Officer of SIU
21   Physicians and Surgeons, Inc., correct?

22          A.        Yes.

23          Q.        At that time were you employed by

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                                                               15

 1   both SIU Physicians and Surgeons, Inc. and SIU

 2   School of Medicine?

 3          A.        No.    This -- I was employed by the

 4   SIU School of Medicine, my working title was Chief

 5   Financial Officer of SIU Physicians and Surgeons.

 6          Q.        You performed services for SIU

 7   Physicians and Surgeons, Inc. in the capacity of

 8   Chief Financial Officer; is that correct?

 9          A.        I did, yes, in that role.
10          Q.        You were responsible for their

11   payroll?
12          A.        Yes.

13          Q.        And their facilities?

14          A.        Yes.

15          Q.        And preparations of their board
16   documents?

17          A.        Yes.

18          Q.        Why do you say that you were not

19   employed by them?

20          A.        Because my sole employer was the SIU
21   School of Medicine and the Master Agreement allows

22   for School of Medicine employees to provide

23   services under SIU Surgeons and Physicians.

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                                                               16

 1          Q.        Do you know whether or not you were a

 2   leased employee as that term is defined under the

 3   Master Services Agreement?

 4          A.        I don't know, I'd have to see the

 5   document.     I don't know what the terminology is in

 6   the document.      But SIU Physicians and Surgeons

 7   reimbursed the School of Medicine for my

 8   compensation and benefits.

 9          Q.        So as you understood the arrangement,
10   SIU Physicians and Surgeons, Inc. gave the SIU

11   School of Medicine the money that SIU School of
12   Money (sic) ultimately paid to you as your

13   compensation?

14          A.        Yes.

15          Q.        For the services that you were
16   providing for SIU Physicians and Surgeons, Inc. as

17   its Chief Financial Officer?

18          A.        Yes.

19          Q.        To whom did you report in that

20   position?
21          A.        To the Chief Executive Officer.

22          Q.        Of Physicians and Surgeons, Inc.?

23          A.        Yes.

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                                                                         17

 1           Q.       Who was the Chief Executive Officer

 2   when you first started as the Chief Financial

 3   Officer?

 4           A.       Dave Tkach.

 5           Q.       How do you spell his last name?

 6           A.       T-K-A-C-H, I believe.

 7           Q.       And how long did you report to him as

 8   CEO?

 9           A.       I believe it was a little more than a
10   year.

11           Q.       Was he replaced as CEO?
12           A.       He -- yes, he was.             There was another

13   interim CEO for, I'm going to speculate, about 18

14   months until a permanent CEO was hired.

15           Q.       Did you report to the interim CEO?
16           A.       Yes, I did.

17           Q.       And who was the interim CEO?

18           A.       Dr. John Bradley.

19           Q.       Did you report to the permanent CEO

20   that replaced Mr. Bradley?
21           A.       Yes.

22           Q.       And who was that?

23           A.       Dr. Hyung Kim.

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                                                               18

 1          Q.        K-I-M?

 2          A.        Yes.

 3          Q.        Y-U-N-G?

 4          A.        H-Y-U-N-G.

 5          Q.        Was that the last CEO of Physicians

 6   and Surgeons, Inc. that you reported to as Chief

 7   Financial Officer?

 8          A.        No.    I also reported to Dr. Jerry

 9   Kruse.
10          Q.        When you reported to Dr. Kruse, was

11   that in your capacity as Chief Financial Officer?
12          A.        While I was the Chief Financial

13   Officer at SIU Physicians and Surgeons, yes.

14          Q.        Is it correct that Dr. Tkach -- I'm

15   sorry, was --
16          A.        Dave.

17          Q.        Dave Tkach, was he a doctor?

18          A.        No.

19          Q.        John Bradley a doctor?

20          A.        Yes.
21          Q.        Hyung Kim a doctor?

22          A.        Yes.

23          Q.        And Jerry Krause -- Kruse is a

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                                                                     19

 1   doctor?

 2          A.        Yes.

 3          Q.        Was Dave Tkach also employed by SIU

 4   School of Medicine?

 5          A.        Yes.

 6          Q.        And is it correct that Dr. Bradley,

 7   Dr. Kim, and Dr. Kruse were also all employed by

 8   SIU School of Medicine?

 9          A.        Yes.
10          Q.        During the -- and they were all

11   employed by SIU School of Medicine during the time
12   that they were serving as CEO or interim CEO of SIU

13   Physician's and Surgeons, Inc.?

14          A.        Well, they had dual appointments.         So

15   they had employment with the School of Medicine and
16   they also had employment with Physicians and

17   Surgeons.

18          Q.        Do you know if that dual appointment

19   was under an arrangement similar to yours or were

20   they -- or was that arrangement different?           And
21   when I say similar to your arrangement I mean the

22   arrangement pursuant to which you were being

23   compensated by SIU School of Medicine with money

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                                                                    20

 1   from SIU Physicians and Surgeons, Inc. for services

 2   you were providing in your capacity to SIU

 3   Physicians and Surgeons, Inc.?

 4          A.        The CEOs had similar arrangements in

 5   that the Physicians and Surgeons compensated the

 6   School of Medicine for the employment costs related

 7   to them that were paid by the School of Medicine.

 8   In addition, they had compensation through the

 9   practice plan.
10          Q.        During the time that you were

11   responsible for payroll for SIU Physicians and
12   Surgeons, Inc., in your capacity as the Chief

13   Financial Officer, were there individuals who were

14   on payroll of SIU Physicians and Surgeons, Inc. who

15   were not also employed by SIU School of Medicine?
16          A.        Yes.

17          Q.        Were any of those employees doctors?

18          A.        Yes, they were only doctors.        Largely

19   retired faculty from the School of Medicine.

20          Q.        SIU Physicians and Surgeons, Inc. has
21   also used the name SIU HealthCare; is that correct?

22          A.        Yes.    That's a doing business as.

23          Q.        And the School of Medicine is a

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 1   school that operates under authority of the SIU

 2   Board of Trustees; is that correct?

 3          A.        Yes.

 4          Q.        Pursuant to statute the Board of

 5   Trustees is the employer for all individuals

 6   employed by SIU School of Medicine; is that

 7   correct?

 8          A.        Yes.

 9          Q.        To see if we can make terminology
10   easier, I'm going to refer to the School of

11   Medicine that is operated by the Board of Trustees
12   as the University.

13          A.        Okay.

14          Q.        So if you hear me asking a question

15   that involves University you can assume I am
16   talking about the School of Medicine's operations

17   separate and distinct from SIU Physicians and

18   Surgeons, Inc.?

19          A.        Yes.

20          Q.        Okay.    I'm going to refer to SIU
21   Physicians and Surgeons, Inc. as the Business.

22          A.        Okay.

23          Q.        So the Business has its own

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 1   leadership group we know as -- because we've gone

 2   through the different CEOs; is that correct?

 3          A.        Yes.

 4          Q.        They operate as a not-for-profit

 5   entity, correct?

 6          A.        Yes.    And --

 7          Q.        And they have -- I'm sorry.

 8          A.        And a University related

 9   organization.
10          Q.        They have their own board of

11   directors; is that correct?
12          A.        Yes.

13          Q.        And their own officers, of which you

14   were one?

15          A.        Yes.
16          Q.        The University, the School of

17   Medicine, also has its own leadership group; is

18   that correct?

19          A.        Yes.

20          Q.        Going to show you what's been marked
21   as Exhibit 2.      Take as much time as you need to

22   look at it and let me know when you're ready to

23   answer questions.

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                                                               23

 1           A.       I can answer questions.

 2           Q.       Have you seen Exhibit 2?

 3           A.       Yes.

 4           Q.       Did you see it in preparation to

 5   testify on behalf of the organization?

 6           A.       Yes.

 7           Q.       Can you describe it?

 8           A.       It's the organizational chart for the

 9   SIU School of Medicine.
10           Q.       On the right-hand corner near the top

11   do you see your name?
12           A.       Yes.

13           Q.       Where it identifies you in your

14   current position as Associate Provost of Finance

15   and Administration?
16           A.       Yes.

17           Q.       In the lower right-hand corner, just

18   above the numbers SIU -- or the words SIU

19   Production 0168 it says as of 2-22-2016, do you see

20   that?
21           A.       Yes.

22           Q.       Is this an accurate reflection of the

23   organizational structure of Southern Illinois

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 1   University School of Medicine as of February 22nd,

 2   2016?

 3           A.       Yes.

 4           Q.       It identifies as the Dean and Provost

 5   Dr. Kruse; is that correct?

 6           A.       Yes.

 7           Q.       He's also the CEO of SIU HealthCare,

 8   correct?

 9           A.       Yes.
10           Q.       Okay.    I want to focus solely on the

11   leadership structure of SIU School of Medicine.
12   Who from within this chart would you consider to be

13   in the leadership structure of SIU School of

14   Medicine?

15                    MR. WILSON:       Let me just interject an
16   objection as to the form of the question when

17   you're talking about administration leadership as

18   opposed to the clinical side with the department

19   chairs and the actual physicians, Which I don't

20   think are necessarily shown on here, Bryan.          I just
21   want to make sure when you say leadership structure

22   we're all on the same page.

23                    BY:    MR. WOOD

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 1           Q.       Do you understand the distinction

 2   that your attorney wants you to draw?

 3           A.       Yes, I think so.

 4           Q.       Okay.    So who on this page would you

 5   identify as being involved in the leadership

 6   structure at SIU School of Medicine?

 7           A.       So as part of the Dean's staff, that

 8   first row of boxes that I'm included in is part of

 9   Dean's staff.      There are people in the second row
10   that are also included in Dean's staff, the

11   Executive -- the Assistant Provost for
12   Institutional Planning and Management, the

13   Executive Assistant to the Dean, the Director of

14   Development.     At this time, -- during this time the

15   Director of the Medical Library was also in that as
16   was the Director of Compliance.

17           Q.       You used some words that I'm not

18   familiar with but I want to make sure to clarify

19   them.    Dean's staff?

20           A.       So that would be the Dean's
21   leadership staff.

22           Q.       Got it.       You used the phrase "this

23   time."

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 1          A.        Well, the Medical Library Director is

 2   no longer part of Dean's staff and that's still a

 3   vacant position.

 4          Q.        So is it --

 5          A.        The Executive Associate -- the

 6   Executive Assistant to the Dean has a title change.

 7   So there's been some changes.            You know, there's

 8   changes from the organizational chart since

 9   February.
10          Q.        Since February it's changed?

11          A.        Yes.
12          Q.        Okay.    And one of those changes we

13   know of is that the Director of the Medical Library

14   is no longer on the Dean's staff?

15          A.        Right.
16          Q.        And that the Executive Assistant to

17   the Dean, for purposes of -- for Diversity has got

18   a new title?

19          A.        Yes.    He is now the Associate Dean

20   for -- he's the Associate Dean for Diversity and
21   Inclusion, I believe.          But we can confirm that if

22   you need that.      The Associate Dean for Education

23   and Curriculum is now the Senior Associate Dean.

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 1   And there's currently no one in the position of

 2   Associate Dean for Community Health and Service.

 3           Q.       At the beginning of your previous

 4   answer you identified a position who had been --

 5   where the title had changed and I didn't catch

 6   that.

 7           A.       That was the ex -- so the Executive

 8   Assistant to the Dean for Diversity has a title

 9   change.
10           Q.       Uh-huh.

11           A.       The Associate Dean for Education and
12   Curriculum is now the Senior Associate Dean.

13           Q.       That was the one that I missed, thank

14   you.    Are there individuals who are on Dean's staff

15   who are not involved -- or who are not reflected on
16   this?

17           A.       Legal counsel attends Dean's staff

18   meetings.

19           Q.       Is that Mr. Martinez?

20           A.       No.    Actually it's the associate
21   legal counsel.

22           Q.       Who's that?

23           A.       Virginia Cooper.         And I believe

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 1   Deanna also attends, Deanna Mool, who is -- I'm not

 2   sure of her title but she's also in the Legal

 3   Counsel's Office.

 4          Q.        Legal Counsel's Office is not

 5   reflected on this chart?

 6          A.        It is not because it reports through

 7   the University.

 8          Q.        And when you say through the

 9   University, you mean --
10          A.        The President's Office.

11          Q.        The President's Office of the entire
12   Southern Illinois University system?

13          A.        Yes.

14          Q.        Got it.       Anyone else who's on Dean's

15   staff that's not reflected on Exhibit 2?
16          A.        Yes.    The Director of Public Affairs

17   also attends Dean's staff as does the Executive

18   Director of HR.

19          Q.        Who is the Executive Director of HR?

20          A.        George Perich.
21          Q.        P-E-R-I-C-H?

22          A.        Yes.

23          Q.        How long has Mr. Perich held the

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 1   position of Executive Director of HR?

 2          A.        A little less than two years.

 3          Q.        Has he always been on Dean's staff

 4   during that time?

 5          A.        Yes.

 6          Q.        Who held the position of Executive

 7   Director of HR prior to Mr. Perich?

 8          A.        Penny McCarty.

 9          Q.        M, little C, big C, A-R-T-Y?
10          A.        I believe so, yes.

11          Q.        And how long was Ms. McCarty
12   Executive Director of HR?

13          A.        I don't know.        She was in the

14   position when I took my position.

15          Q.        When you say "took my position," do
16   you mean the position that you held as CFO of the

17   Business or your position as Associate Provost for

18   the University?

19          A.        My position as Associate Provost for

20   the University.
21          Q.        In your capacity as the CFO for the

22   Business, you did not have occasion to interact

23   with the Executive Director of HR for the

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 1   University?

 2          A.        I did.

 3          Q.        So who was -- so was Ms. McCarty in

 4   that position for the duration of the period for

 5   which you were an employee of the University

 6   performing services as CFO for the Business?

 7          A.        She assumed that role at some point

 8   during my employment as CFO.           There was another

 9   person in that role when I first started.
10          Q.        And who was that?

11          A.        Kay Titchanel.
12          Q.        Can you spell that last name, as best

13   you can?

14          A.        As best I can.        T-I-T-C-H-A-N-E-L

15   maybe.
16          Q.        During the time that you've been

17   employed by the University, has the Executive

18   Director of HR always reported to the Associate

19   Provost of Finance and Administration?

20          A.        Yes.
21          Q.        And who preceded you as the Associate

22   Provost of Finance and Administration?

23          A.        Pam Speer.

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 1            Q.       Did Ms. Speer hold that position

 2   during the entire time that you were employed by

 3   the University?

 4            A.       Yes.

 5            Q.       Until you held --

 6            A.       Became Dean's staff, yes.

 7            Q.       Speer, S-P-E-A-R?

 8            A.       E-E-R.

 9            Q.       That's why you ask.           The
10    -- what does it mean to be on Dean's staff?

11            A.       This is where the Dean has -- talks
12   to his leadership about the kinds of things that --

13   strategic initiatives, you know, concerns that come

14   up.    The Dean's staff -- this is where this group

15   collectively comes together to talk about a variety
16   of issues.

17            Q.       Is there a routinely held Dean's

18   staff meeting?

19            A.       Yes.

20            Q.       Is it scheduled approximately
21   monthly, weekly, quarterly?

22            A.       It's scheduled two times a month, it

23   regularly meets one time a month.

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 1          Q.        And has that been consistent during

 2   the entire time that you've been employed by the

 3   University?

 4          A.        I wouldn't know except for my time as

 5   Associate Provost.

 6          Q.        When you were employed by the

 7   University as the CFO for the Business you were not

 8   on Dean's staff?

 9          A.        That is correct.
10          Q.        Do you know if the CEO of the

11   Business was on Dean's staff?
12          A.        I don't know.

13          Q.        I notice, from the organizational

14   chart, that there are several letters after your

15   name none of which are M.D.           You have a CPA, you're
16   a Certified Public Accountant?

17          A.        Yes.

18          Q.        And you have a Master's in Business

19   Administration?

20          A.        Yes.
21          Q.        What was your field prior to becoming

22   employed by the University?

23          A.        I had served as the chief executive

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 1   officer of two different community health centers.

 2           Q.       And what were those?

 3           A.       Chicago Family Health Center and

 4   Family Practice Community Wellness.

 5           Q.       Which did you serve in first?

 6           A.       Family Practice Community Wellness.

 7           Q.       And where was that located?

 8           A.       Chicago.

 9           Q.       What part?
10           A.       West Town.

11           Q.       What about the Chicago Family Health
12   Center?

13           A.       That was on the south side, in South

14   Chicago, Roseland, Pullman.

15           Q.       How long did you work at the Family
16   Practice Community Wellness?

17           A.       Five years.

18           Q.       And how long did you work at Chicago

19   Family Health?

20           A.       Eight years.        Approximate on both of
21   them.

22           Q.       Did you obtain your MBA while you

23   were employed at one of those institutions?

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 1          A.        Chicago Family.

 2          Q.        Where'd you get that?

 3          A.        DePaul.

 4          Q.        Did you have your CPA when you began

 5   working at the Family Practice Community Wellness?

 6          A.        Yes.

 7          Q.        And where did -- did you study

 8   accounting in college?

 9          A.        Yes.
10          Q.        Where'd you study accounting?

11          A.        Indiana University.
12          Q.        Did you take and pass the CPA shortly

13   after graduating college?

14          A.        Yes.

15          Q.        And what year was that -- I'm sorry,
16   what year did you graduate college?

17          A.        '88.

18          Q.        And what year did you get your MBA?

19          A.        I don't remember.

20          Q.        That's okay.
21          A.        But I got.

22          Q.        No worries.       In your capacity as CEO

23   of the two organizations that you've identified,

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 1   were you responsible for all non-medical

 2   operations?

 3          A.        Yes.

 4          Q.        And approximately how many employees

 5   were there at the Family Practice Community

 6   Wellness?

 7          A.        Let's see.       Well, Family Practice

 8   Community Wellness was an FQHC that was affiliated

 9   with St. Elizabeth's Hospital at the time.           So some
10   of the most employees were leased from St.

11   Elizabeth.     So there were only, I think, three
12   direct employees of Family Practice Community

13   Wellness, the rest would have all been leased.

14          Q.        Approximately how many leased

15   employees were there?
16          A.        I'd guess 60.        Fifty, 60, something

17   like that.

18          Q.        Does that include doctors, nurses, --

19          A.        Yes.

20          Q.        -- patient care providers?
21          A.        Yeah.

22          Q.        And approximately how many employees

23   were there at Chicago Family Health -- is it Health

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                                                                      36

 1   Center or Health Care Center?

 2          A.        Chicago Family Health Center.

 3          Q.        Okay.

 4          A.        About 225.

 5          Q.        Direct employees or leased employees?

 6          A.        All direct.

 7          Q.        And approximately what percentage of

 8   those were medical care providers, doctors, nurses,

 9   patient care providers?
10          A.        You know, I don't know.

11          Q.        Looking back at Exhibit 2.          The boxes
12   on the bottom show four major categories, basic

13   science departments in Carbondale, basic science

14   departments in Springfield, clinical science

15   departments in Springfield, and the Simmons Cancer
16   Institute SIU, do you see those?

17          A.        Yes.

18          Q.        Which of those boxes has individuals

19   who provide direct patient care that are employed

20   by the University?
21          A.        Well, certainly the clinical science

22   departments and the Simmons Cancer Institute

23   provides direct patient care.            I want to think

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 1   about whether basic science has any -- well, so

 2   there may be people in the basic science

 3   departments that would also provide direct patient

 4   care.

 5           Q.       Is that a part of research?

 6           A.       No.

 7           Q.       Which of those four boxes has

 8   individuals who are also jointly employed by SIU

 9   Physicians and Surgeons, Inc., the Business?
10           A.       The basic science department in

11   Springfield, clinical science in Springfield, and
12   the Simmons Cancer Institute would have people

13   employed on both.       I'm not sure if there's -- I'm

14   not sure -- I'd have to see the list of employees

15   in the basic science unit in Carbondale to see if
16   any are joint employed.

17           Q.       So it's possible that all four do?

18           A.       It's possible.

19           Q.       Showing you what's been marked as

20   Deposition Exhibit 3 which is a -- Bates labeled
21   SIU Production 0169.           Take as much time as you need

22   and let me know when you're ready to answer

23   questions.

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 1          A.        I can answer questions.

 2          Q.        Have you seen Deposition Exhibit 3?

 3          A.        Yes.

 4          Q.        What is it?

 5          A.        It's the organizational chart that

 6   shows the basics -- it shows the academic

 7   departments and approved centers for the SIU School

 8   of Medicine and the leaders in each of those areas.

 9          Q.        On the left it reflects four
10   individuals as leaders of the basic science

11   departments in Carbondale; is that correct?
12          A.        Yes.

13          Q.        And there are five in the basic

14   science departments in Springfield; is that

15   correct?
16          A.        Yes.

17          Q.        One in the Simmons Cancer Institute

18   at SIU?

19          A.        Yes.

20          Q.        And then 10 in the clinical science
21   departments at Springfield; is that correct?

22          A.        Yes.

23          Q.        Are there any changes that have

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 1   occurred as of February 22nd, 2016 that you're

 2   aware of from reviewing Exhibit 3?

 3          A.        Not that I'm aware of.

 4          Q.        If you could turn back to Exhibit 2.

 5   During the time that you've been employed at the

 6   University, does this -- let me start over.          Does

 7   the organizational chart on Exhibit 2 identify the

 8   major departments that have existed from an

 9   administrative perspective during the time that
10   you've been employed by the University?

11          A.        Well, the first two rows of Exhibit 2
12   focus on the administrative units, the bottom row

13   focuses on the academic units or the approved

14   centers and institutes.

15          Q.        Understood.       I want to not focus on
16   the academic units but just the administrative

17   units.    Are you aware of administrative units that

18   are not reflected on Exhibit 2 that have existed

19   during your employment with the University?

20          A.        I'm sorry, ask that again.
21          Q.        Are you aware of administrative units

22   that are not reflected on Exhibit 2 that have

23   existed during your employment at the University?

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 1           A.       I don't think I can answer that.       I

 2   don't -- when I was employed by the University but

 3   in my role as Chief Financial Officer I wouldn't

 4   have really had a lot of knowledge of the

 5   administrative units within the University, only

 6   the ones that I interacted with.

 7           Q.       And no one's prepared you to testify

 8   on that topic as it relates to the period prior to

 9   your time with the University -- I'm sorry, as it
10   relates to the period of time prior to you assuming

11   your role as Associate Provost; is that correct?
12           A.       Right.        I mean, we could look at each

13   organizational chart and I could -- you know, as it

14   looks consistent with here, I could certainly do

15   that.    The organizational chart changes from
16   time-to-time so who reports directly to the Dean or

17   who reports to any of these administrative units

18   could vary at any given time.

19           Q.       Correct.       The -- you haven't reviewed

20   organizational charts other than this one in
21   preparation for this deposition; is that correct?

22           A.       Well, I've seen the more recent one

23   of this but not --

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 1          Q.        Not any older ones?

 2          A.        Right.        I didn't go through older

 3   ones, no.

 4          Q.        Okay.    Focusing on the time for which

 5   you can answer, are there administrative units that

 6   have existed that are not reflected on this chart?

 7   And to give you an example, when I was in college

 8   there would not have been an associate dean for

 9   digital media, now there might be.
10          A.        Right.

11          Q.        Are there administrative units that
12   you know have existed at SIU School of Medicine

13   that you do not see reflected on Exhibit 2?

14          A.        Yes.    There was an administrative

15   unit called External Affairs and I think that was
16   led by an associate provost.

17          Q.        And as a result of some sort of

18   departmental change External Affairs might have

19   been eliminated or merged into a different

20   administrative unit?
21          A.        So the unit -- the administrative

22   unit itself was eliminated, the responsibilities of

23   that unit were redirected into other areas.

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 1          Q.        Based on your knowledge and

 2   experience from your employment with the

 3   University, or the Business, or any other

 4   information you've learned in preparation to

 5   testify on behalf of SIU School of Medicine today,

 6   can you state whether or not human resources

 7   functions of the University have always reported to

 8   the Associate Provost of Finance and

 9   Administration?
10          A.        To my knowledge, yes, they've always

11   reported there.      And in my tenure at the University
12   in either role.

13          Q.        I want to turn to Exhibit 3 which

14   reflects the academic units.           To your knowledge are

15   there academic units that have existed at the
16   University that are not reflected on Exhibit 3?

17          A.        Not to my knowledge.

18          Q.        The -- have all of the four major

19   academic units identified on Exhibit 3 existed

20   during the entire time you've been employed by the
21   University?

22          A.        The three major categories of

23   academic unit and the one center and institute, as

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 1   reporting line directly to the Dean, those have all

 2   existed since I've been at SIU.

 3          Q.        You distinguished between an academic

 4   unit and an institute.          Can you describe the

 5   difference between an academic unit and an

 6   institute?

 7          A.        An academic unit is a tenure granting

 8   unit, department.

 9          Q.        Uh-huh.
10          A.        It requires approval by the Dean, the

11   University, the President, and the Illinois Board
12   of Higher Education.

13          Q.        Uh-huh.

14          A.        The Center is a functioning body that

15   would perform all the services of -- would perform
16   services similar to an academic unit but it

17   wouldn't be a tenure granting body.

18          Q.        Going to show you what has been

19   marked as Exhibit 4.           Do you recognize Exhibit 4?

20          A.        Yes.
21          Q.        Can you tell me what it is?

22          A.        It's the organizational chart for the

23   Business, SIU HealthCare.

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 1           Q.       How is it that you recognize it as

 2   that?

 3           A.       I saw it in the materials.

 4           Q.       Is the first time that you saw it in

 5   connection with preparing for this deposition?

 6           A.       This is the first time I've seen this

 7   organizational chart, yes.

 8           Q.       Have you seen sim -- previous similar

 9   organizational charts?
10           A.       Yes.

11           Q.       In what capacity?
12           A.       In both capacities.

13           Q.       When you say both capacities, you

14   mean in connection with your work as the CFO of the

15   Business as well as Associate Provost of the
16   University?

17           A.       Yes.

18           Q.       Can you identify on this

19   organizational chart the unit or category or person

20   for whom human resources responsibilities would
21   fall?

22           A.       Most human resource responsibilities

23   are the responsibility of the School of Medicine

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 1   because those -- the School of Medicine's the

 2   primary employer.       But as it relates to

 3   compensation for SIU HealthCare, that would be

 4   Nelson Weichold.

 5          Q.        He's identified as the Chief

 6   Operating Officer and Chief Financial Officer?

 7          A.        Yes.

 8          Q.        Did he -- did he become the Chief

 9   Financial Officer immediately after you left that
10   position?

11          A.        Yes.
12          Q.        When you left the position, was there

13   a position of Chief Operating Officer?

14          A.        Yes.    It was vacant.

15          Q.        When you were hired -- when you first
16   became CFO of Physicians and Surgeons, Inc., was

17   there a Chief Operating Officer of the Business?

18          A.        Yes.

19          Q.        Who was that?

20          A.        Cathy Mahaffey.
21          Q.        Is she a physician?

22          A.        No.

23          Q.        Can you spell Ms. Mahaffey's last

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 1   name?

 2           A.       M-A-H-E-F-F-E-Y, to the best of my

 3   knowledge.

 4           Q.       Okay.    Are there any individuals or

 5   roles identified on Exhibit 4 that you're aware of

 6   that are only employed by the Business and not also

 7   employed by the University?

 8           A.       Not to my knowledge.

 9           Q.       I am going to show you real fast
10   what's been marked as Exhibit 5.                Do you recognize

11   Exhibit 5?
12           A.       Yes.

13           Q.       Can you describe what it is?

14           A.       It's a list of acronyms -- of

15   commonly used acronyms.
16           Q.       It says -- on the bottom left corner

17   it's dated August 2nd, 2016?

18           A.       Yes.

19           Q.       Has a list similar to this existed

20   during the entirety of your employment with the
21   University?

22           A.       I couldn't say for sure the entirety.

23   But it's been available in several iterations

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 1   during the time I've been there, yeah.

 2          Q.        On the top left it says, please send

 3   updates to Stacy Bond.         Do you see that?

 4          A.        Yes.

 5          Q.        So it is intended to be a working --

 6          A.        Yes.

 7          Q.        Did you understand it to be intended

 8   to be a working document that changes over time?

 9          A.        Yes.
10          Q.        It also says in the top left it's

11   developed by the Office of Human Resources and SIU
12   HealthCare.     What's the Office of Human Resources?

13          A.        That is -- that's one of the

14   administrative units that reports to me.

15          Q.        Is that the unit for which you
16   identified that Mr. --

17          A.        George Perich.

18          Q.        -- Perich?

19          A.        Yeah.

20          Q.        And Ms. McCarty and then Ms.
21   Titchanel --

22          A.        Titchanel, yeah.

23          Q.        -- had been responsible for?

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 1          A.        Yes.

 2          Q.        What's the organizational structure

 3   of the Office of Human Resources?

 4          A.        There's an executive director -- and

 5   this is as it stands today.

 6          Q.        Uh-huh.

 7          A.        There's an executive director, there

 8   are two assistant directors, and there are then a

 9   number of staff reporting to those folks.
10          Q.        Have you seen an org chart for that

11   organization?
12          A.        Yes.

13          Q.        And that's as a part of your job

14   responsibility in overseeing that?

15          A.        Yes.
16          Q.        Who are the assistant directors?

17          A.        Angie Doolin and Angie Tippey.

18          Q.        Doolin, D-O-O-L-A-N?

19          A.        L-I-N.

20          Q.        Gonna get one right sooner or latter,
21   I promise.     Going to pick an easier one.          The other

22   -- I'm sorry, Angie Doolin and the second person

23   was?

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 1          A.        Angie Tippey, T-I-P-P-E-Y.

 2          Q.        You must spend a significant part of

 3   your day simply clarifying which Angie you're

 4   talking to --

 5          A.        Yes.

 6          Q.        -- in those capacities.        How do you

 7   refer to them to distinguish them?

 8          A.        Angie Tippey or Angie Doolin.

 9          Q.        Got it.       Just use the full last name.
10   Understood.     What responsibilities -- is there

11   anyone else reporting to the executive director?
12          A.        He has an assistant, a secretary.

13          Q.        Administrative assistant?

14          A.        Yes.

15          Q.        And what is that person's name?
16          A.        I'm not sure.        She's brand new.

17          Q.        And -- so what responsibilities does

18   Ms. Doolin have?

19          A.        Doolin has responsibility over labor

20   relations, employee benefits, and organizational
21   development.     And these are broad categories.

22          Q.        Uh-huh.       What responsibilities does

23   Ms. Tippey have?

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 1            A.       She has responsibility over

 2   compensation, civil service, reporting.          You know,

 3   there's a number of reports that we do -- that they

 4   do.    She'd be not very happy I couldn't come up

 5   with other things.        She's busy.

 6            Q.       I'm sure.     The labor relations

 7   category that you were describing relates to

 8   Collective Bargaining Agreements, unionized

 9   employees?
10            A.       Yes.

11            Q.       Any other category that you were
12   referring to when you said labor relations?

13            A.       Sure.    She would be involved in any

14   other disciplinary work.

15            Q.       You mentioned benefits.       The benefits
16   would include assistance with administration of

17   employee benefit plans like health care

18   benefits, --

19            A.       Yeah.

20            Q.       -- retirement benefits, those types
21   of things?

22            A.       Yes.    FMLA, that sort of thing.

23            Q.       What is organizational development?

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 1            A.       So that would be training, education,

 2   orientation, staff or faculty development.

 3            Q.       And what categories fall under

 4   compensation?

 5            A.       I mean, it would be all areas of

 6   compensation.      It would be responsibility over

 7   administration of the civil service system,

 8   appointment paperwork.

 9            Q.       You mentioned reporting, a number of
10   reports.      What types of reports were you referring

11   to?
12            A.       So we have to report to Civil

13   Service, we have to report to the Illinois Board of

14   Higher Education, we have to report to AAMC, that's

15   the American Association of Medical Colleges.
16   Report to MGMA, Medical Group Management

17   Association.      Any reports requested by the

18   legislature or the Governor, Governor's Office.

19            Q.       Who reports to Ms. Doolin?

20            A.       In general or you want specifics?
21            Q.       Does she have any direct reports that

22   you would consider to be involved in the

23   organizational group that is the Office of Human

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 1   Resources?

 2          A.        She has a number of direct reports, I

 3   think.    If you want a list we should get you an org

 4   chart, a current org chart.

 5          Q.        Do you know approximately how many

 6   direct reports?

 7          A.        No.

 8          Q.        Do you know -- does Ms. Tippey have

 9   direct reports?
10          A.        Yes.

11          Q.        Approximately how many?
12          A.        I don't know.

13          Q.        To your knowledge, during your

14   employment -- sorry, let me start over.         Are you

15   aware of the executive director having more than
16   two direct reports and an administrative assistant

17   during the time that you've been at the University?

18          A.        Yes.    They had a third person

19   reporting to them.

20          Q.        Who was that?
21          A.        Sylvia McDonnough.

22          Q.        Donald?

23          A.        No.    M -- capital M, small C, capital

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 1   D, O-U-N-G-A-L maybe.

 2          Q.        Got it.       What were her areas of

 3   responsibility?

 4          A.        Primarily reporting, data gathering,

 5   any systems that fell -- that needed to be handled

 6   within HR.

 7          Q.        Was her role eliminated?

 8          A.        She retired.

 9          Q.        Were her duties absorbed by the
10   existing staff?

11          A.        Someone was hired to replace her but
12   not at the same level.

13          Q.        That person is one of -- the person

14   who was hired to replace her -- excuse me.           The

15   role for the person who was hired to replace her is
16   now a direct report of either Ms. Doolin or Ms.

17   Tippey?

18          A.        Yes.

19          Q.        And when did Ms. McDonnough retire?

20          A.        Maybe last fall.
21          Q.        And how long had she reported

22   directly to the executive director?

23          A.        I'm not sure.        During my time as

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 1   Associate Provost she reported to the executive

 2   director.

 3          Q.        Is it correct that with the exception

 4   of the payroll function by the Business, the

 5   University handles human resources functions for

 6   the University and the Business?

 7          A.        Yes.    That would be my

 8   interpretation, yeah.

 9          Q.        And I believe that you mentioned more
10   than once in your answer that the primary employer

11   is the University?
12          A.        Yes.

13          Q.        And is that a shorthand way of saying

14   that human resources functions are handled by the

15   University?
16          A.        Yes.    Well, I'm not sure it's a

17   shorthand function.       I would say those two things

18   are correct.

19          Q.        Okay.    What does it mean that the

20   University is the primary employer?
21          A.        So the -- most of the benefits for

22   every employee resides with the University,

23   retirement plans, health insurance, that sort of

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 1   thing.    There are restrictions as to who the

 2   Business can employ that isn't employed by the

 3   University because all the health insurance again

 4   sits on this side of the University.

 5           Q.       There's a single hiring process that

 6   the University operates for both the Business and

 7   the University?

 8           A.       Yes.

 9           Q.       And there's a single compensation
10   setting process that exists for the University and

11   the Business?
12           A.       What do you mean compensation

13   process?     There's a compensation plan that's part

14   of the Business.

15           Q.       When I say compensation process I
16   mean the process by which it is determined how an

17   employee of the University and the Business will be

18   paid.    There's a single process?

19           A.       For how they are paid?

20           Q.       No.    For determining how they will be
21   paid.    There's one process for the University and

22   the Business that operates at one time?

23                    MR. WILSON:       Just for the record, for

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 1   the foundation for the question, Bryan, are you

 2   referring to physician faculty members versus civil

 3   service employees versus AP staff?              'Cause it may

 4   be different.

 5                    THE WITNESS:        Right.

 6                    MR. WILSON:       So I just want to make

 7   sure she's answering the question you want.

 8                    BY:    MR. WOOD

 9          Q.        Well, that's a fair distinction that
10   we should draw.      If you could turn back to the SIU

11   HealthCare organization chart, Exhibit 4.
12          A.        Uh-huh.

13          Q.        Is Mr. Weichold a doctor?

14          A.        No.

15          Q.        Got it.       Dr. Lausen is a doctor?
16          A.        Yes.

17          Q.        Are you aware of anyone else on this

18   sheet who is a doctor?          Dr. Kruse, the Dean of the

19   School of Medicine, --

20          A.        Yes.
21          Q.        -- is a doctor?

22          A.        Nina -- no one else on this page is a

23   medical doctor other than Dr. Kruse and Dr. Lausen.

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 1          Q.        And that's what I meant, sorry.

 2          A.        Yes.

 3          Q.        Not that they might not have a

 4   doctorate degree.

 5          A.        Yes.

 6          Q.        Technically I do.         But beyond knowing

 7   where the antibiotic spray and the Band-Aids are in

 8   my house I don't have a whole lot to offer.           So

 9   yeah, I meant medical doctor.            The University is
10   responsible for the hiring process for everyone who

11   works at SIU HealthCare, correct?
12          A.        Yes.

13          Q.        Okay.    As part of that hiring

14   process, pay for individuals who will be hired is

15   determined?
16          A.        Yes.

17          Q.        Okay.    Initially -- I'm going to

18   refer to that as initial -- determining initial

19   compensation.

20          A.        Okay.
21          Q.        There is one process for determining

22   initial compensation that operates for the

23   University and the Business regardless of the

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 1   level.    SIU HealthCare doesn't have its own process

 2   for setting people's compensation?

 3          A.        Yes.    There's a single process for

 4   which --

 5          Q.        Right.

 6          A.        -- for which compensation is

 7   established, yes.

 8          Q.        That process may differ depending on

 9   the type of person being hired?
10          A.        Absolutely.

11          Q.        But there's one process?
12                    MR. WILSON:       Doing okay or you need a

13   break?

14                    MR. WOOD:      Yeah.     If you need a break

15   let me know.     I'm going to break when you break or
16   my bladder is.      But if anyone else needs break,

17   please pass a note.

18                    THE WITNESS:        Should we break?   Yeah,

19   let's take a quick break.

20                    MR. WOOD:      Want to take a short
21   break?

22                    MR. WILSON:       Yeah.

23                    MR. WOOD:      Sure.

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 1                    (At this point in the proceedings a

 2   short recess was taken, at which time Cox-Largent

 3   Deposition Exhibit Numbers 6 through 9 were marked

 4   for identification and the following proceedings

 5   were conducted;)

 6                    BY:    MR. WOOD

 7          Q.        Ms. Cox-Largent, we're going to show

 8   you what's been marked as Deposition Exhibit 6

 9   which is Bates labeled SIU Production 8883
10   consecutive through 8889.

11          A.        Yes.
12          Q.        Did you read this in connection with

13   preparing for your testimony?

14          A.        I did not.       But I have referred to

15   this document before.
16          Q.        Do you understand what it is?

17          A.        Yes.    It's Board policies.

18          Q.        If you could refer to Subparagraph C

19   under Subparagraph 1 under Subparagraph capital C

20   that says Conditions of Appointment.            I'm about a
21   third of the way down the page where it says

22   faculty and professional staff, --

23          A.        Uh-huh.

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 1          Q.        -- do you see that?

 2          A.        Yes.

 3          Q.        It says, "The general conditions of

 4   employment of faculty and professional staff are as

 5   set forth in the Faculty and Professional Staff

 6   Personnel Policies promulgated by the chief

 7   academic officer and/or the chief campus personnel

 8   officer and approved by the Chancellor."             Then it

 9   says, "In the case of medical school faculty and
10   staff, these policies include those promulgated by

11   the medical school."           Do you see that?
12          A.        Yes.

13          Q.        Do you know who the chief personnel

14   officer is for the medical school?

15          A.        That would be the executive director.
16          Q.        Of HR?

17          A.        Yes.

18          Q.        And do you know who the chief

19   academic officer is for the medical school?

20          A.        That would be Jerry Kruse.
21          Q.        The Dean?

22          A.        Yes.

23          Q.        If you could look farther down under

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 1   Subparagraph D.      I'm sorry, I'm on the wrong page.

 2   If you could turn to the page marked SIU Production

 3   8889.    Under Subsection B, Appointment to Positions

 4   and Position Approval.         And under Subsection 1,

 5   Appointments to Positions of Employment, it says,

 6   "All positions -- excuse me.           "All appointments to

 7   positions of employment shall be made in the name

 8   of the Board as the employer," do you see that?

 9           A.       Yes.
10           Q.       And that's what we were referring to

11   as the Board of Trustees being the employer of all
12   employees at SIU School of Medicine?

13           A.       Yes.

14           Q.       Okay.    Turning back to the first page

15   there's a distinction drawn between faculty and
16   professional staff?

17           A.       Yes.

18           Q.       Can you describe that distinction?

19   What types of positions fall into faculty versus

20   professional staff at SIU School of Medicine?
21           A.       Well, there are two different

22   employment categories.         Faculty would have some

23   responsibility for teaching, research, clinical

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 1   service.     Professional staff are more

 2   administrative and supportive of that.

 3           Q.       Do you understand which category your

 4   position falls under?

 5           A.       Yes.

 6           Q.       Which is it?

 7           A.       I'm professional staff.

 8           Q.       Okay.    Do you understand which

 9   position Dr. Kruse falls under?
10           A.       Yes.    He's -- he's faculty.

11           Q.       'Cause in addition to his
12   administrative responsibilities he also has

13   teaching responsibilities?

14           A.       Yes.

15           Q.       Go out of order briefly but we'll get
16   there.    Going to show you what has been marked as

17   Deposition Exhibit 8, --

18           A.       Yes.

19           Q.       -- Bates labeled SIU Production 8891

20   consecutive through 8892.
21           A.       Yes.

22           Q.       Do you recognize Deposition Exhibit

23   8?

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 1          A.        Yes.

 2          Q.        Is it the identification of faculty

 3   positions at SIU School of Medicine?

 4          A.        Faculty rank positions, yes.

 5          Q.        What's the difference between a

 6   faculty position and a faculty rank position?

 7          A.        Well, every faculty member would have

 8   a rank and in addition they might have titles.

 9          Q.        Okay.    Are the paid faculty ranks all
10   -- that you're aware of, all identified on Exhibit

11   8 under the heading paid faculty ranks?
12          A.        To my knowledge, yes.

13          Q.        There are also volunteer ranks

14   identified, do you see those?

15          A.        Yes.
16          Q.        Are those individuals employees of

17   the University?

18          A.        No.    They're volunteer.

19          Q.        On the next page there are other

20   faculty ranks which consist primarily of visiting
21   professors or visiting educators; --

22          A.        Yes.

23          Q.        -- is that correct?

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 1           A.       Yes.

 2           Q.       Okay.    And then there are what are

 3   described as principal administrative appointments?

 4           A.       Yes.

 5           Q.       Are those individuals, under the

 6   principal administrative appointments, employees of

 7   the University?

 8           A.       Yes.

 9           Q.       At the very end of the document
10   there's a distinction drawn between a continuing

11   appointment and a term appointment, do you see
12   that?

13           A.       Yes.

14           Q.       With the abbreviations C and T.     Is

15   it correct that a continuing term appointment is
16   essentially a renewable employment, every year you

17   get a new contract and you continue to be employed

18   until a termination event is triggered?

19           A.       Yes.

20           Q.       And a term appointment is an
21   appointment for a period of fixed time; is that

22   correct?

23           A.       Yes.

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 1          Q.        And if you go back to the first page,

 2   the paid faculty ranks of assistant professor,

 3   associate professor, and professor are all

 4   continuing appointments; --

 5          A.        Yes.

 6          Q.        -- is that correct?

 7          A.        Yes.

 8          Q.        Other than retired faculty, are there

 9   faculty employed by the University who are also
10   employed by SIU HealthCare, the Business, that do

11   not hold one of the paid faculty ranks of
12   professor, associate professor, or assistant

13   professor?

14          A.        To my knowledge, people jointly

15   employed must hold one of these as faculty must
16   hold one of these ranks.

17          Q.        When you say "one of these ranks"?

18          A.        The paid faculty ranks, what's listed

19   on Exhibit 8.

20          Q.        Do you know if SIU -- do you know if
21   the Business employs instructors?

22          A.        I don't believe so.

23          Q.        Do you know if they employ research

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 1   professors?

 2          A.        I'm sorry, let me rephrase that.        The

 3   Business could employ an instructor if they were a

 4   mid-level provider that was grandfathered in.

 5          Q.        What does that mean, a mid-level

 6   provider?

 7          A.        So a nurse practitioner -- a

 8   non-M.D., a nurse practitioner, a social worker, a

 9   psychologist.
10          Q.        And what does grandfathered in mean?

11          A.        So at some point in the practice
12   plan's history they allowed joint employment for

13   clinical providers that were non-M.D.s.           that was

14   changed prior to my starting at the -- at SIU.           But

15   there may be a handful of people that are still
16   employed under that model.

17          Q.        The School of Medicine employs -- the

18   University employs nurse practitioners as

19   instructors?

20          A.        There could be a nurse practitioner
21   employed as an instructor.           Many of them are

22   employed as professional staff.            But if they have

23   teaching responsibilities and they have -- and they

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 1   have the appropriate level of education they could

 2   be employed as instructors.

 3           Q.       For -- you used the word practice

 4   plan in a previous answer.           Is that another way of

 5   referring to the Business?

 6           A.       Yes.

 7           Q.       Is it correct that physician staff

 8   employed by the University who are employed by the

 9   Business hold the ranks of assistant professor,
10   associate professor, or professor?

11           A.       Or assistant professor of clinical,
12   associate professor of clinical, or professor of

13   clinical, they could hold any of those

14   appointments.

15           Q.       You're referring to the titles in the
16   middle of the page with three asterics next to

17   them?

18           A.       Yes.

19           Q.       And those would be individuals in the

20   departments identified to the right of that?
21           A.       Yes.

22           Q.       Is the difference between a professor

23   of clinical and an assistant professor whether or

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 1   not it is a tenure track position?

 2          A.        Largely, yes.

 3          Q.        The three titles that you mentioned,

 4   professor, clinical associate professor, and

 5   clinical assistant professor -- I'm sorry, the

 6   three ranks that you mentioned, associate -- the

 7   three ranks that you mentioned, professor of

 8   clinical, associate professor of clinical, and

 9   assistant professor of clinical can be continuing
10   or term appointments; is that correct?

11          A.        Yes.
12          Q.        And that's what's reflected on

13   Exhibit 8?

14          A.        Yes.

15          Q.        Going to show you what's marked as
16   Exhibit 7.     You recognize Exhibit 7?

17          A.        Yes.

18          Q.        Can you tell me what it is?

19          A.        It's the Master Agreement between the

20   Board of Trustees of SIU and SIU Physicians and
21   Surgeons.

22          Q.        Is this the same Master Agreement

23   that's identified in Subsection 3 of Exhibit 1

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 1   about which you indicated that you could

 2   testify, --

 3           A.       Yes.

 4           Q.       -- that Master Agreement?

 5           A.       Yes.

 6           Q.       If you turn to the last page, it

 7   indicates that this agreement has been executed on

 8   the 9th day of April, 2014, you see that?

 9           A.       Yes.
10           Q.       Have there been changes or

11   modifications to the Master Agreement since that
12   date?

13           A.       No.

14           Q.       Was there a Master Agreement in place

15   between the University and the Business prior to
16   April 2014?

17           A.       Yes.

18           Q.       For how long?

19           A.       Certainly from the time of my

20   employment.     But I think there was a Master
21   Agreement in place prior to my employment.

22           Q.       What changed from the version that

23   was in place immediately prior to 2014 to this

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 1   version?

 2          A.        There was -- there were several

 3   changes including the acknowledgment that SIU

 4   Physicians and Surgeons is doing business as SIU

 5   HealthCare.     So that change was throughout the

 6   document.     There were some changes to how the CEO

 7   of the practice plan would be evaluated, there were

 8   some updates relative to insurance coverage and how

 9   approvals would be obtained for certain types of
10   activities.

11          Q.        What types of activities?
12          A.        Purchasing, leases are the primary

13   things.

14          Q.        If you could refer to the second page

15   of the Master Agreement.          Under Section 1.3 it
16   says, "SIU will employ the members of SIUHC as

17   full-time faculty of the School of Medicine"?

18          A.        Yes.

19          Q.        You see that provision?

20          A.        Yes.
21          Q.        So is it your understanding that the

22   Business is contractually obligated to employ the

23   members -- excuse me.          That the University is

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 1   contractually obligated to employ the members of

 2   the Business?

 3          A.        I think actually it's the -- I'm

 4   sorry, repeat that question.

 5          Q.        Is it your understanding that the

 6   University is contractually obligated to employ

 7   members of the Business?

 8          A.        Yes.

 9          Q.        If you continue reading in that
10   sentence it says, "SIUHC will then provide separate

11   and concurrent employment to such members"?
12          A.        Yes.

13          Q.        And so the Business is -- then also

14   employs the members as well; is that correct?

15          A.        Yes.
16          Q.        And then it goes on to say, "The

17   parties intend that, where legally permitted under

18   applicable law, the primary employer-employee

19   relationship and the corresponding rights,

20   privileges, and responsibilities will be vested in
21   the faculty appointment with SIU," you see that?

22          A.        Yes.

23          Q.        So this is another indication that

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 1   the primary employer is the University?

 2          A.        Yes.

 3          Q.        Do you know if it's possible to

 4   become a member of the Business without being a

 5   full-time faculty or retired full-time faculty --

 6   let me start over.       Do you know if it's possible to

 7   be a member of the Business without being a faculty

 8   member or retired faculty member of the School of

 9   Medicine?
10          A.        Not a member, no.

11          Q.        In fact, you have to be a full-time
12   faculty member -- you have to be a full-time

13   faculty of the University to be a member 'cause

14   Section 1.4 talks about the retired individuals as

15   an associate member category, do you see that?
16          A.        Yes.

17          Q.        Okay.    So all members of the Business

18   are full-time faculty of the University?

19          A.        Yes.

20          Q.        Okay.
21          A.        Well, -- yes.

22          Q.        If you could turn to Page 8, Bates

23   labeled SIU Production 0097.

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 1          A.        Yes.

 2          Q.        Under 3.2 it refers to clinical

 3   faculty appointments.          You see that?

 4          A.        Yes.

 5          Q.        Can you -- do you see the section in

 6   the middle of the paragraph that says, "As

 7   prescribed in Section 1.3 of this agreement, all of

 8   the School of Medicine's clinical faculty will be

 9   jointly and concurrently employed by SIU and
10   SIUHC," see that?

11          A.        Yes.
12          Q.        And SIU refers to the School of

13   Medicine or University and SIUHC refers to SIU

14   HealthCare, SIU Physicians and Surgeons, Inc., the

15   Business?
16          A.        Yes.

17          Q.        Okay.    If you could turn back to

18   Exhibit 8.     And identify -- I'm sorry.            And also

19   place in front of you Exhibit 3.                Is it correct

20   that the clinical departments at the University are
21   identified under the Clinical Science

22   Departments/Springfield on Exhibit 3?

23          A.        Yes.

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 1          Q.        So those are the departments in which

 2   SIU members will be employed, correct?

 3          A.        Yes.    They -- they could also have

 4   dual appointments in other areas.

 5          Q.        Those are becoming far more common in

 6   academics, correct?

 7          A.        Yes.

 8          Q.        And SIU members, in addition to being

 9   employed in one of the clinical science departments
10   identified on Exhibit 3, must hold one of the paid

11   faculty ranks on Exhibit 8, correct?
12          A.        Yes.

13          Q.        Do individuals in the clinical

14   departments hold research professor, or research

15   associate professor, or research assistant
16   professor faculty ranks?

17          A.        I don't believe so.            Let me clarify.

18   The -- there are a couple clinical departments that

19   are not owned departments but contracted

20   departments.     So some of the faculty within those
21   units would not be paid, they would be volunteer

22   faculty appointments.

23          Q.        Right.

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 1          A.        But not members of HealthCare.

 2          Q.        Right.

 3          A.        Okay.

 4          Q.        My question was limited to members of

 5   HealthCare.

 6          A.        Okay.    Thank you.

 7          Q.        And I believe you said members of

 8   HealthCare, or the Business, don't hold research

 9   professor, research associate professor, or
10   research assistant professor ranks?

11          A.        Right.
12          Q.        And I believe earlier you testified

13   they don't hold research instructor ranks; is that

14   correct?

15          A.        Yes.
16          Q.        And they don't hold instructor of

17   clinical ranks; is that correct?                Members of

18   HealthCare, members of the Business would not hold

19   instructor of clinical?

20          A.        They could if they're the mid-level
21   professor instructor who was grandfathered in in

22   HealthCare.

23          Q.        Physician --

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 1          A.        Right.

 2          Q.        -- members?

 3          A.        Yes.    Thank you.

 4          Q.        That's okay.

 5          A.        Okay.

 6          Q.        That's why we have got to do this.

 7   Physician members of HealthCare, the Business,

 8   would not hold an instructor or clinical rank?

 9          A.        That's correct.
10          Q.        Okay.    And physician members of

11   HealthCare would not hold the instructor rank?
12          A.        That's right.

13          Q.        Physician members of HealthCare would

14   hold the ranks of professor, associate professor,

15   assistant professor, professor of clinical,
16   associate professor of clinical, or assistant

17   professor of clinical, correct?

18          A.        Yes.

19          Q.        They would also be full-time

20   employees of the University, correct?
21          A.        Yes.

22          Q.        And they would work in one of the

23   clinical science departments identified on Exhibit

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 1   3 in Springfield, correct?

 2          A.        Yes.

 3          Q.        The process for which physician

 4   members of HeatlhCare would have their initial

 5   compensation determined would be the same for the

 6   University and for the Business, correct?

 7          A.        It would be done at the same time,

 8   yes.

 9          Q.        Okay.    It's one process?
10          A.        Yes.

11          Q.        Physician members of HealthCare who
12   are on tenure track -- let me start over.

13   Physician members of HealthCare would be subject to

14   the same policies or guidelines on faculty

15   appointments, promotion, and tenure, correct?
16          A.        Yes.

17          Q.        Show you what's been marked as

18   Exhibit 9.

19          A.        Yes.

20          Q.        Do you recognize Exhibit 9?
21          A.        Yes.

22          Q.        That is the Southern Illinois

23   University School of Medicine Guidelines on Faculty

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 1   Appointments, Promotion, and Tenure, correct?

 2          A.        Yes.

 3          Q.        It is -- indicates it was revised

 4   most recently March 1st, 2010, do you see that?

 5          A.        Yes.

 6          Q.        Has there been any subsequent

 7   revision?

 8          A.        I don't believe there's been final

 9   revisions.     I don't believe there's been a revision
10   that's been approved.

11          Q.        I believe earlier you testified that
12   the major distinction between professor of clinical

13   and -- I'm turning back to Exhibit 8.

14          A.        Uh-huh.

15          Q.        The distinction between professor,
16   associate professor, and assistant professor, and

17   those same ranks within reference of clinical, is

18   whether they are tenure track positions, correct?

19          A.        Yes.

20          Q.        So the only tenure track positions
21   that SIU members would hold are professor,

22   associate professor, and assistant professor,

23   correct?

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 1                    MR. WILSON:        Objection, form of the

 2   question.     You said position.

 3                    MR. WOOD:        Sure.    Sorry.

 4                    BY:    MR. WOOD

 5          Q.        The only faculty rank that a SIU

 6   HealthCare -- that a SIU HealthCare member would

 7   hold is professor, associate professor, or

 8   assistant professor?

 9          A.        For a physician, yes.
10          Q.        Right.        For a tenure --

11          A.        Yes.
12          Q.        -- track physician?

13          A.        Yes, uh-huh.

14          Q.        Okay.    Those would be the ranks for

15   tenure track physician members of the Business; is
16   that correct?

17          A.        Yes.

18          Q.        The -- focusing on Exhibit 9.       This

19   describes the appointment process for tenure track

20   physician members of the Business, correct?
21          A.        Yes.

22          Q.        And Exhibit 9 identifies the minimum

23   qualifications for faculty appointment to those

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 1   ranks, correct?

 2           A.       Yes.

 3           Q.       If you refer to Page 6 of the

 4   document Bates labeled 8898 they identify the

 5   minimum qualifications for the rank of tenure track

 6   physician members of the Business, for the rank of

 7   assistant professor and associate professor and

 8   professor continuing on to Page 7, do you see that?

 9           A.       Yes.
10           Q.       And those minimum qualifications for

11   those ranks are the same for all tenure track
12   physician members of the Business at that rank,

13   correct?

14           A.       They're the minimum qualifications.

15           Q.       Okay.    And if you refer to Page 17,
16   Bates 8909, that identifies the School of

17   Medicine's standards and specific requirements by

18   rank, correct?

19           A.       Yes.

20           Q.       And they continue on all the way
21   through Page 20, Bates labeled 8912, do you see

22   that?

23           A.       Yes.

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 1           Q.       And those are the same for all tenure

 2   track physician members of the Business at that

 3   rank, correct?

 4           A.       Yes.

 5           Q.       If you turn to Page 21.        This

 6   identifies the tenure units.           This is Bates labeled

 7   8913.    This identifies the clinical units, the

 8   tenure approved units that we've been discussing as

 9   the clinical units, correct?
10           A.       Yes.

11           Q.       And those are the same ten clinical
12   units that appear on Deposition Exhibit 3, the

13   organizational chart, correct?

14           A.       Yes.

15           Q.       If you could turn back to Exhibit 8.
16   As far as the process to make it to professor, the

17   promotional process to advance to professor for

18   tenure track physician members of the Business, you

19   can move from assistant professor to professor,

20   correct?
21           A.       No.    I think you need to move

22   assistant to associate professor and then associate

23   to professor.

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 1           Q.       Okay.    So for individuals who are not

 2   physician members -- for physician members of the

 3   Business who are not brought in as tenure -- let me

 4   start over.     Is any physician member of the

 5   Business brought in as a tenured professor?

 6           A.       It's rare to be hired as a tenured

 7   professor.

 8           Q.       Rare but not impossible?

 9           A.       Right.
10           Q.       Okay.    That's fine.           To be hired in

11   that capacity a newly hired individual would still
12   have to go through the qualifications to become a

13   professor identified in Exhibit 9?

14           A.       In their career, yes.

15           Q.       Right.        And they would have to go
16   through the process that's set out in there for

17   being approved for tenure?

18           A.       Yes.

19           Q.       The process that's set out in Exhibit

20   9.   But generally speaking, individuals move from
21   assistant professor to associate professor to

22   professor?

23           A.       Yes.

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 1          Q.        And the academic duties set forth in

 2   Exhibit 9 and the academic expectations for each

 3   rank set forth in Exhibit 9 are the same for all

 4   individuals at the rank of assistant professor; is

 5   that correct?

 6          A.        I'm sorry, say that again.

 7          Q.        The academic duties and expectations

 8   set forth in Exhibit 9 for tenure track physician

 9   members of the Business are the same for all
10   individuals at the rank of assistant professor?

11                    MR. WILSON:       Can you point out maybe,
12   Bryan, where you're referring to those duties in

13   Exhibit 9?

14                    THE WITNESS:        Right.     That would be

15   helpful.
16                    BY:    MR. WOOD

17          Q.        If you could look at Page 8900, which

18   is Page 8 of the document.

19          A.        Uh-huh.

20          Q.        It goes through a series of criteria.
21   Same -- similar cri -- I mean, not the same.              But

22   it's -- the document similarly describes criteria

23   for teaching and also criteria for service?

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 1          A.        Right.        So each faculty member would

 2   present different activities that they did to meet

 3   each one of these.       This sort of outlines the

 4   minimum standards that they would need to -- the

 5   types of things that they need to identify to move

 6   along in the rank or tenure track process.           But

 7   each physician -- I'm not sure you could say it's

 8   the same.     Each physician has minimum

 9   qualifications that they would -- and work that
10   they would have to do to do that.

11          Q.        But the minimum qualifications
12   expected are the same -- the expectations are the

13   same for all tenure track physician members at the

14   rank of associate professor?

15                    MR. WILSON:        Just interject an
16   objection as to the form of the question as you're

17   referencing in Exhibit 9 the minimum

18   qualifications, I think, under the title Activities

19   for Evaluation in Promotion and Tenure.

20                    MR. WOOD:       Sure.
21                    BY:    MR. WOOD

22          Q.        There are expectations for promotion

23   that are set forth and there are also minimum

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 1   qualifications set forth under Section 2D, right,

 2   on Pages 6 and 7?       Those are the minimum

 3   qualifications?

 4           A.       Right.

 5           Q.       Then there are activities for

 6   evaluation, right?

 7           A.       Yes.

 8           Q.       Which is -- is it fair to describe

 9   the activities of evaluation -- for evaluation as
10   what SIU expects its faculty to be doing to

11   continue to advance their careers?
12           A.       Yes.    Broadly they need to -- they

13   need to be doing work in these areas.           But the

14   specific work will vary by each and every physician

15   or faculty member.
16           Q.       These are examples of the types of

17   work?

18           A.       Yes.

19           Q.       If you look at Appendix A it sets

20   forth --
21           A.       What page is it?

22           Q.       I'm sorry.       Page 28.

23           A.       Okay.    Thank you.

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 1          Q.        It sets forth those expectations in

 2   greater detail?

 3          A.        Right.        The types of activity that

 4   each faculty member could do, uh-huh.

 5          Q.        Okay.    If you could turn back to the

 6   Master Agreement.       Is it correct that the Master

 7   Agreement requires the Compensation Plan for all

 8   Business members?

 9          A.        Is there a specific page you're
10   referencing here?

11          Q.        No.    But I can.        If you look at Page
12   11, Section 5.

13          A.        Yes.

14          Q.        This says, under Section 5.1,

15   Compensation Plan, "The compensation of members of
16   SIUHC will be determined in accordance with the

17   Compensation Plan approved by the Board of

18   Directors of SIUHC"?

19          A.        Yes.

20          Q.        So is it correct that the Master
21   Agreement --

22          A.        Yes.

23          Q.        -- requires that all tenure track

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 1   physician members of the Business be compensated

 2   pursuant to a compensation plan?

 3          A.        All tenure and nontenure track, yes.

 4   All members.

 5          Q.        All members?

 6          A.        Yeah.    Physician members, yeah.

 7          Q.        So focusing on the tenure track

 8   members.    That would mean that all associate

 9   professors, assistant professors, and professors in
10   the clinical departments at the University are paid

11   pursuant to the same compensation plan?
12          A.        Yes.

13          Q.        If you go on in Section 5.1 it says,

14   "The Compensation Plan will preclude private

15   inurement to any of the members of SIUHC and will
16   reflect market conditions and be based on available

17   compensation data and surveys from outside

18   sources."     What does inurement -- private inurement

19   of any of the members mean as far as you

20   understand?
21          A.        That we can't -- that we can't -- we

22   can't be paying the physicians -- the compensation

23   plan cannot be paying physicians based on their --

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 1   based on the revenue received -- strictly by the

 2   revenue received by the practice plan.          So we can't

 3   pay a portion of clinical -- we can't pay clinical

 4   receipts directly to each physician.

 5          Q.        I think I understand what you mean.

 6   The Business collects money for patient services?

 7          A.        Yes.

 8          Q.        Because some procedures are -- some

 9   patient services generate more income than other
10   patient services, some physician members help the

11   Business earn more money than others?
12          A.        Yes.

13          Q.        Your understanding is that the

14   compensation plan precludes paying them directly

15   what they bring in?
16          A.        The direct revenue that comes in.

17   And that would be based on the type of work they

18   do, the type of patients they see.

19          Q.        It's not a collections based model?

20          A.        That's exactly right, thank you.
21          Q.        It says, "The Compensation Plan will

22   reflect market conditions and be based on available

23   compensation data and surveys from outside

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 1   sources."     What is your understanding of "market

 2   conditions"?

 3           A.       That's going to reflect a lot of

 4   different things.       So what the regional need is,

 5   what the national availability is of individual

 6   physicians, what the market is currently paying for

 7   a particular type of physician.

 8           Q.       All of that is somehow reflected in

 9   the compensation plan?
10           A.       Yes.

11           Q.       It says, "The Compensation Plan will
12   be based on available compensation data and surveys

13   from outside sources."

14           A.       Sure.

15           Q.       What available compensation data is
16   it based on?

17           A.       Well, we -- as one of the factors in

18   determining compensation they would -- the school

19   and the practice plan would look at AAMC data, MGMA

20   data.
21           Q.       You mentioned what those associations

22   were before --

23           A.       Yes.

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 1          Q.        -- and I'm going to see if I can find

 2   them on Exhibit 5.       AAMC is the Association of

 3   American Medical Colleges?

 4          A.        Yes.

 5          Q.        And MGMA is the Medical Group

 6   Management Association?

 7          A.        Yes.

 8          Q.        Is it correct that each of those

 9   organizations prepares surveys of compensation for
10   tenure track faculty ranks at teaching hospitals,

11   university teaching hospitals?
12          A.        Tenure and non-tenure track.        But

13   there are other -- there are other compensation

14   surveys out there that the practice plan may choose

15   to use.
16          Q.        And that survey data is what the

17   compensation plan is based on, correct, the survey

18   data from the AAMC and the MGMA?

19          A.        No.    The survey data is a tool to

20   assist in establishing compensation levels just
21   like there's a number of things that would be used

22   in establishing compensation.

23          Q.        Master Agreement says, "Compensation

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 1   Plan will preclude private inurement to any of the

 2   members of SIUHC and will reflect market conditions

 3   and be based on available compensation data and

 4   surveys from outside sources"?

 5           A.       Right.

 6           Q.       So the compensation plan is or is not

 7   based on AAMC and MGM (sic) data?

 8           A.       It's based on market conditions and

 9   available compensation data from outside sources
10   which does include -- which could include AAMC and

11   MGMA.
12           Q.       Okay.    What other available

13   compensation data is the plan based on other than

14   the surveys from AAMG and MGM (sic)?

15           A.       The plan isn't based on the
16   compensation data.       The compensation -- the survey

17   data is a tool for which the plan can be

18   implemented.     So there is a compensation plan,

19   which I think you have a copy of.

20           Q.       Going to show it to you.
21           A.       Okay.    So you have a copy of the

22   Compensation Plan.       And the survey data is one of

23   the tools they use to set compensation.         But the

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 1   plan doesn't -- the plan isn't determined based on

 2   the survey data.

 3            Q.       So this part of the Master Agreement

 4   is inaccurate?

 5            A.       It says market conditions and

 6   available compensation and surveys.

 7            Q.       It says, "and be based on available

 8   compensation data."

 9            A.       Yes.    And compensation data is one of
10   the tools that they use.

11            Q.       Okay.    Market conditions is another?
12            A.       Yes.

13            Q.       Anything else?

14            A.       Sure.    What the physician --

15            Q.       Hang on.     For the plan.    I understand
16   that you were talking about the implementation of

17   the plan.

18            A.       Okay.

19            Q.       I'm not going to spend a whole lot of

20   time talking about the implementation of the plan.
21   What I want to talk about is what is the plan based

22   on.    And specifically what, under the Master

23   Agreement, is being referred to as what the plan is

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 1   based on?

 2          A.        The Master Agreement provides a small

 3   paragraph on the expectations -- the overall

 4   expectations of the plan.          The plan is a 20 page

 5   document, I mean.       Or -- it's a large document that

 6   describes how compensation is developed.             So this

 7   is a short excerpt of the types of things that is

 8   the expectation, like physicians aren't paid on

 9   their collections.
10          Q.        Got it.       So the plan is sort of a

11   written policy that describes how what's described
12   in Paragraph 5.1 will be administered; is that

13   right?

14          A.        I think so, yes.

15          Q.        The last sentence of that paragraph
16   says, "All compensation paid to members will be in

17   compliance with federal" --

18                    MR. WOOD:       I'm really sorry.

19                    THE REPORTER:        You're fine.

20                    BY:    MR. WOOD
21          Q.        -- "compliance with the federal and

22   state self-referral laws and regulations including,

23   but not limited to, Stark Law and the Anti-Kickback

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 1   statute."     These are the statutes that prevent

 2   physician members from referring medical services

 3   to entities in which they have an ownership

 4   interest, correct?

 5          A.        Yes.    I mean, that's one of the

 6   things that's covered under those.

 7          Q.        Right.        Is it correct that all tenure

 8   track physician members of the Business sign a

 9   Compensation Agreement; is that correct?
10          A.        Yes.

11          Q.        Is it correct that those compensation
12   agreements are identical except for the amount of

13   compensation that the tenure track physician will

14   receive and the department and division in which

15   they will work?
16                    MR. WILSON:        Objection to form.   As

17   far as identical for the entire existence of the

18   plan or they're identical at one particular point

19   in time?    'Cause I don't know if they've changed

20   over time, Bryan, from 1995 to 2005.
21                    MR. WOOD:        Fair enough.

22                    BY:    MR. WOOD

23          Q.        Are you aware, Ms. Cox-Largent,

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 1   whether the Compensation Agreement that tenure

 2   track physician members of the Business are

 3   required to sign has changed over time?

 4          A.        I believe it probably has changed

 5   over time.     And the differences would include what

 6   their compensation levels are, any caps that they

 7   would have, those kinds of things.

 8          Q.        Is your belief based on -- let me see

 9   if I can show you a copy of a physician agreement.
10                    (At which time, Cox-Largent

11   Deposition Exhibit Number 10 was marked for
12   identification and the following proceedings were

13   conducted;)

14                    BY:    MR. WOOD

15          Q.        Take as much time as you need to
16   review Exhibit 10 and let me know when you're ready

17   to answer questions.

18          A.        I can answer questions.

19          Q.        You've seen this document before,

20   correct?
21          A.        Yes, I believe so.

22          Q.        That was in connection with your

23   prior deposition in the Department of Labor matter

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 1   in which you testified; is that correct?

 2           A.       I don't recall that.           I think I've --

 3   but I've seen the document as part of Dr. Ahad's

 4   file.

 5           Q.       This is referred to as a Member

 6   Practice Agreement, correct?

 7           A.       Yes.

 8           Q.       And you'll see that the blanks to be

 9   filled in on the Member Practice Agreement are for
10   her name at the top, her department, where it says

11   surgery?
12           A.       Yes.

13           Q.       Division, general surgery?

14           A.       Yes.

15           Q.       The date, the term of employment?
16           A.       Yes.

17           Q.       Does not specify what her

18   compensation will be, right?

19           A.       No, it does not.

20           Q.       But it does specify how her
21   compensation will be calculated and what

22   compensation she'll be eligible for, correct?

23           A.       It references the Compensation Plan,

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 1   yes.

 2          Q.        In Paragraph 4 it says, "The

 3   compensation to be paid Member for all services and

 4   duties performed under the auspices of SIU P&S

 5   shall be in accordance with the SIU P&S

 6   Compensation Plan and shall be set forth or

 7   described in a Compensation Agreement dated on or

 8   about the date of this agreement and in subsequent

 9   compensation agreements, which are hereby
10   incorporated by reference herein."              You see that?

11          A.        Yes.
12          Q.        So there's a separate document called

13   Compensation Agreement?

14          A.        Yes.

15          Q.        And everyone, all tenure track
16   physician members of the Business have such an

17   agreement, --

18          A.        Yes.

19          Q.        -- correct?

20          A.        Yes.
21          Q.        And that describes all of the types

22   of compensation they will receive for their work

23   for the University and for the Business, correct?

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 1           A.        As expected for the year, yes.

 2           Q.        Right, okay.        What I want to refer to

 3   -- what I want to talk about right now is the

 4   Member Practice Agreement.

 5           A.        Okay.

 6           Q.        Is it correct that all tenure track

 7   physician members of the Business are required to

 8   execute a Member Practice Agreement?

 9           A.        All members, yes.
10           Q.        Right.       And is it your understanding

11   that those Member Practice Agreements are the same?
12           A.        They're largely the same.

13           Q.        There may have been minor changes in

14   language but, for example -- like, for example,

15   updating SIU P&S to say SIU HealthCare, like the
16   one that you described?

17           A.        Yes.

18           Q.        But generally speaking, the terms are

19   the same; is that correct?

20           A.        Generally but not every agreement.
21           Q.        Right.       But they all identify duties

22   and responsibilities, correct?

23           A.        Yes.

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 1           Q.        They all identify compensation and

 2   fringe benefits?

 3           A.        Yes.

 4           Q.        They all identify terms of

 5   termination?

 6           A.        Yes.   But those could vary.

 7           Q.        Why do you say that?

 8           A.        Because sometimes physicians have

 9   negotiated different changes to some of the
10   clauses.     We don't do it a lot but it has happened.

11           Q.        Can you think of a specific example
12   in which a member negotiated changes to the

13   language of the Member Practice Agreement?

14           A.        A physician who had a local practice

15   who might -- who was interested in joining SIU
16   HealthCare might negotiate a different non-compete,

17   or non-solicitation.

18           Q.        Who has done that?

19           A.        I don't know off the top -- we can

20   get you that information but, I mean, we'd have to
21   pull every contract.           But in general, the contracts

22   are the same, they're not -- I can't say that every

23   contract is identical.

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 1           Q.        Is it -- can you say that the terms

 2   offered in the Member Practice Agreement to each

 3   tenure track physician member are the same?

 4           A.        Is there a specific section that

 5   you're referring to in terms of -- are you just

 6   talking about Section 2?

 7           Q.        No.    I'm talking about the Member

 8   Practice Agreement.        The example you gave was an

 9   individual negotiating --
10           A.        Yes.

11           Q.        -- a specific circumstance, it was a
12   hypothetical example you gave about an individual

13   negotiating a specific circumstance that related to

14   them, right?

15           A.        Yes.
16           Q.        And what I -- my question relates to

17   the terms presented to a member.

18           A.        Oh, sure.      Yes, they're generally the

19   same.

20           Q.        They're identical?
21           A.        Yes.

22           Q.        Okay.    If you look at Paragraph 4 of

23   this Member Practice Agreement.             It describes the

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 1   process by which -- I'm on Page 2, Section 4A.          The

 2   compensation to be paid member for all services and

 3   duties performed will be in accordance with the

 4   Compensation Plan, correct?

 5           A.        Yes.

 6           Q.        And then it says, the compensation

 7   agreements incorporated herein will state the

 8   member's clinical base salary and academic base

 9   salary earned in connection with Member's separate
10   and concurrent employment by the School of Medicine

11   and shall set forth or describe any individualized
12   information necessary for the calculation of

13   clinical base salary and incentives pursuant to the

14   SIU P&S Compensation Plan.           Do you see that?

15           A.        Yes.
16           Q.        To your knowledge, has that always

17   been part of the compensation process for tenure

18   track physician members of the Business?

19           A.        Yes.

20                     (At this point in the proceedings an
21   off the record discussion was held, at which time

22   Cox-Largent Deposition Exhibit Numbers 11 through

23   13 were marked for identification and the following

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 1   proceedings were conducted;)

 2                     BY:    MR. WOOD

 3           Q.        Ms. Cox-Largent, I'm going to show

 4   you what's been marked as Exhibit 11 and ask you to

 5   take as much time as you need to to look at it and

 6   then if you can identify it, please.

 7           A.        So this is the compensation plan for

 8   SIU HealthCare, SIU Physicians and Surgeons, or the

 9   Business.
10           Q.        This particular Compensation Plan

11   indicates it's an effective day of April 16th,
12   1997, you see that?

13           A.        Yes.

14           Q.        And I'll show you what's been --

15   we'll mark as Exhibit 12 and ask you if you can
16   recognize that.

17           A.        Yes.   So this was a proposal that was

18   prepared by some consultants to assist in a

19   redesign of the compensation plan.

20           Q.        So this is a proposal but was not
21   adopted as a compensation plan; is that correct?

22           A.        It has not been.        To my knowledge it

23   has not been adopted.

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 1           Q.        Show you what has been marked as

 2   Exhibit 13.      Do -- can you identify Exhibit 13?

 3           A.        This is also a proposal that was

 4   shared, I believe, with the Board for a potential

 5   revision to the compensation plan.

 6           Q.        Exhibit 13 has not been adopted and

 7   in effect?

 8           A.        To my effect (sic), it's not been

 9   adopted.
10           Q.        Exhibit 12 has not been adopted and

11   in effect?
12           A.        To my understanding, it has not been

13   adopted or in effect.

14           Q.        So it's -- so as far as you know the

15   compensation plan that is Exhibit 11 has been and
16   continues to be in effect -- has been in effect

17   since April 16th, 1997 and continues to be in

18   effect; is that correct?

19           A.        Yes.

20           Q.        As Associate Provost in Finance you
21   participate in the Business's compensation

22   committee meetings, correct?

23           A.        I do not.

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 1           Q.        Do you participate in their board --

 2   in the Business board meetings?

 3           A.        As an invited guest.

 4           Q.        Right.       That's what I mean.

 5           A.        Okay.

 6           Q.        You have -- have you ever

 7   participated in compensation committee meetings as

 8   an invited guest?

 9           A.        I don't recall.         I attended as Chief
10   Financial Officer.

11           Q.        Right.
12           A.        I'd have to review the minutes.        But

13   I don't -- I don't regularly attend the

14   compensation committee minute -- meetings.            If I

15   was invited to attend I would attend but I don't
16   regularly attend.

17           Q.        In your -- okay.         Compensation for

18   tenure track physician members of the Business is

19   determined as a part of a process that falls under

20   your category of supervision at the University,
21   correct, HR?

22           A.        So compensation -- the recommended

23   compensation comes from the department chairs.

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 1   The --

 2           Q.        Who do they recommend it to?

 3           A.        The Dean.

 4           Q.        What is HR's involvement?

 5           A.        HR reviews the compensation, makes

 6   sure there's consistency.

 7           Q.        Right.       Consistency with the plan?

 8           A.        Actually H -- employees of HC review

 9   -- also review any potential offer letters and then
10   annually review the compensation in accordance with

11   the plan.
12           Q.        But earlier we established that the

13   only person who does HR for the Business is the

14   payroll person.       So any HR reviews would be done

15   under your supervision?
16           A.        I don't think we established that.         I

17   think what we said was there was payroll that was

18   -- that the HR functions were under the School of

19   Medicine and that -- but HC also had a payroll

20   function that was under the Chief Financial
21   Officer.

22           Q.        Right.       Who -- if you could, who at

23   HC is responsible for reviewing to ensure the

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 1   compensation is in accordance with the plan?

 2           A.        That would be the Chief Financial

 3   Officer and his team.

 4           Q.        Got it.      Mr. Weichold and accounting

 5   and payroll people?

 6           A.        I believe so, yes.

 7                     MR. WOOD:      Okay.    Why don't we break

 8   for lunch now, if that's a good time?

 9                     MR. WILSON:      Sure.
10                     THE WITNESS:       Okay.

11                     (At this point in the proceedings a
12   short recess was taken, after which the following

13   proceedings were conducted;)

14                     BY:    MR. WOOD

15           Q.        Good afternoon, Ms. Cox-Largent.
16   We're going to pick up with Deposition Exhibit

17   Number 11, the Compensation Plan that you indicated

18   has been in effect since 1997.            This is the

19   document that -- or the plan that's referenced in

20   the Master Agreement, correct?
21           A.        Yes.

22           Q.        And so even though you testified

23   about some changes to the Master Agreement, to your

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 1   knowledge the compensation plan has not changed

 2   since 1997?

 3           A.        Yes.

 4           Q.        Okay.    If you could turn to Page

 5   17278.    Just for reference, the document is Bates

 6   labeled Page 17274 consecutive to, and including,

 7   SIU Production 17293.          It also has a Bates labeling

 8   of Ahad RTP 000162 consecutive through 181.           Do you

 9   see where it says Elements of Member Compensation?
10           A.        Yes.

11           Q.        Does the compensation plan accurately
12   describe the elements of member compensation for

13   tenure track physician members of the Business?

14           A.        Yes.

15           Q.        It also describes what is referred to
16   as SIU SM Base, do you see that?

17           A.        Yes.

18           Q.        Does that refer to an academic base

19   salary paid by the University?

20           A.        Yes.
21           Q.        And all tenure track physician

22   members of the Business receive a base salary

23   pursuant to the compensation plan that's paid by

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 1   the University, correct?

 2            A.       Yes.

 3            Q.       Is there any part of the description

 4   of the academic base salary that you see on Page

 5   17278 that is inaccurate?

 6            A.       You're asking specifically about Page

 7   17278?

 8            Q.       Right.       There's --

 9            A.       Yes.
10            Q.       In the one, two, three, four, five

11   bullet points --
12            A.       Right.

13            Q.       -- that are through there.

14            A.       Yep, that's accurate.

15            Q.       Okay.    If you could turn to the next
16   page, Page 17279.        That describes what's referred

17   to as a clinical base, do you see that?

18            A.       Yes.

19            Q.       Can you describe what a clinical base

20   is?
21            A.       So I'm not administering this part of

22   the plan any more.        So I can tell you what it was

23   to my information when I was in the -- when I

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 1   worked in my role as CFO for the practice plan.

 2   Otherwise, if you want to know what they're doing

 3   today I think you'll have to ask Nelson.

 4           Q.        I will.

 5           A.        I mean, this is part of the plan that

 6   he's talking about.        So I can only talk about what

 7   I was involved with at the time I was the CFO

 8   because I don't administer this part of the plan

 9   any more.
10           Q.        Okay.

11           A.        Okay.    So there's a clinical base
12   that's calculated and it's a monetary value that's

13   assigned and that base gets paid in monthly

14   increments to the faculty member and isn't subject

15   to deductions the way that -- for incentive comp
16   the way that unincentive compensation is.

17           Q.        When you say it's not subject to

18   deductions for incentive comp, what do you mean?

19           A.        Well, the clinical -- so this base is

20   paid -- whatever the base is assigned is paid in
21   equal 12 month increments.           The clinical incentive

22   can have a variety of withholds that's allowed by

23   the plan.

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 1           Q.        A variety of withholds?

 2           A.        Incentive comp withholds, yes, as

 3   described in the page before, individual department

 4   or group-wide incentives.

 5           Q.        When you say on the page before,

 6   you're referring to the third bullet point under

 7   Roman Numeral I that says "Clinical incentives will

 8   be paid pursuant to three distribution schemes"?

 9           A.        Uh-huh.
10           Q.        Individual-level clinical incentives,

11   department-level clinical incentives, group-wide
12   clinical incentives?

13           A.        Yes.

14           Q.        All right.      When you say withholds,

15   are you talking about a deduction from the
16   estimated amount of clinical compensation?

17           A.        Yes.

18           Q.        Okay.    Let me back up and see if we

19   can take this from a big picture perspective.

20   There are, as described in the Section 1, three
21   components of each member's compensation.             The

22   academic base salary, clinical base salary, and

23   clinical incentives, do you see that --

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 1           A.        Yes.

 2           Q.        -- on Page 17278?

 3           A.        Yes.

 4           Q.        Okay.    Clinical base salary is

 5   described in Section 3.1 and I understand, from

 6   your explanation, that it is a monthly amount not

 7   subject to deductions, correct?

 8           A.        Yes.    Incentive -- incentive

 9   withholds, yes.
10           Q.        Okay.    The -- there are also clinical

11   incentives, correct?
12           A.        Yes.

13           Q.        Okay.    And it is correct that

14   clinical incentives are described in Roman Numeral

15   IV beginning at Page 17281, correct?
16           A.        Yes.

17           Q.        Okay.    And it is the clinical base

18   and the clinical incentives that provide

19   compensation for a tenure track physician member's

20   clinical activity?
21           A.        Yes.

22           Q.        Seeing patients?

23           A.        Yes.

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 1           Q.        Okay.    The academic base salary

 2   provides compensation to the tenure track physician

 3   members for their academic duties?

 4           A.        Well, academic, administrative,

 5   research, you know, non-clinical activities.

 6           Q.        Non-clinical activities.       The

 7   academic base is not subject to any incentive

 8   withholds, correct?

 9           A.        That's correct.
10           Q.        It's a fixed salary that is also paid

11   on a monthly basis?
12           A.        Yes.

13           Q.        Okay.    All of the three types of

14   compensation, the academic base, the clinical base,

15   and the clinical incentives paid to tenure track
16   physician members of the Business must be paid in

17   accordance with the terms of the compensation plan,

18   correct?

19           A.        Yes.

20           Q.        And if you look on Page 17277, under
21   Integration, the purpose of the compensation plan

22   is to integrate the compensation provided by

23   HealthCare, or the Business, with compensation

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 1   provided by the University so the total

 2   compensation paid to each faculty member represents

 3   reasonable compensation supported by market data

 4   for the total effort of such faculty member; is

 5   that correct?

 6           A.        Yes.

 7           Q.        There are also limits as to how much

 8   a tenure track physician member of the Business can

 9   earn, correct?
10           A.        Yes.

11           Q.        If you could turn to Page 17288.
12   This says that there is a preliminary cap -- I'm at

13   the last bullet point of that page.              There's a

14   preliminary cap and an absolute cap set by the

15   Business Compensation Committee, correct?
16           A.        Yes.

17           Q.        It goes on to say how those caps are

18   established based on the surveys from MGMA that you

19   described earlier, correct?

20           A.        Or other external sources, yes.
21           Q.        What other external sources besides

22   the MGMA data or the AA --

23           A.        MC.

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 1           Q.        -- MC are you aware of that have been

 2   used?

 3           A.        In some specialty services where

 4   there isn't reportable data from GMA (sic) or AAMC

 5   we might use the data for that particular

 6   specialty, like reproductive endocrinology,

 7   mid-level providers, nurse practitioners, we might

 8   use either a local market survey or a national

 9   survey by their association.
10           Q.        But ultimately the preliminary cap

11   and the final cap are subject to review by the
12   compensation committee?

13           A.        Yeah.    As set for each doctor given

14   their specialty.

15           Q.        Where does it say that?
16           A.        Well, it doesn't specify.

17           Q.        Oh.    The next section says

18   Compensation Approval.         You see that on Page 17289?

19           A.        Yes.

20           Q.        And it says the compensation
21   committee shall approve, at least annually -- not

22   reading a direct quote -- the expected compensation

23   to be paid to each faculty member.               You see that?

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 1           A.        Yes.

 2           Q.        Okay.    It says, in determining

 3   compensation for any particular year, the

 4   compensation committee will take into effect what

 5   that faculty member earned the prior year.            You see

 6   that?

 7           A.        Yes.

 8           Q.        Has that always been true under the

 9   administration of the compensation plan?
10           A.        To my knowledge, yes.

11           Q.        Here the AAMC is specifically
12   referenced as something the committee does

13   consider, correct?

14           A.        Yes.

15           Q.        In that section?
16                     MR. WILSON:      AAMC or MGMA?

17                     THE WITNESS:       Both.

18                     MR. WOOD:      It references both in that

19   section.

20                     THE WITNESS:       Both.
21                     BY:    MR. WOOD

22           Q.        It goes on to say if there are

23   downward adjustments in compensation those will be

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 1   negotiated between the Dean, the department chair,

 2   CEO of the Business, and the faculty member to the

 3   satisfaction of the Compensation Committee, you see

 4   that?

 5           A.        Yes.

 6           Q.        The faculty member refers to the

 7   faculty member whose compensation is being adjusted

 8   downwards; is that correct?

 9           A.        I would assume so, yes.
10           Q.        Yeah.    If you go back to Page 17281

11   -- I'm sorry, 17280.           It describes how the clinical
12   base formula will be reviewed or modified, you see

13   that?

14           A.        Uh-huh.

15           Q.        And those modifications require
16   approval by the Compensation Committee and the

17   Board of Directors of the Business, do you see

18   that?

19           A.        Yes.

20           Q.        And it says those modifications apply
21   on a group-wide basis.          Does that mean it applies

22   to all members?

23           A.        The calculation of the formula,

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 1   the --

 2           Q.        Right.

 3           A.        -- the way the formula's designed,

 4   yes.

 5           Q.        Right.       So it's not one formula

 6   applies to certain members and a different formula

 7   might apply to other members?

 8           A.        Right.       But it would obviously vary

 9   based on their total compensation.                The formula is
10   the same but the numbers will vary.

11           Q.        Sure.    Because the formula takes into
12   account RVUs?

13           A.        The formula takes into account total

14   compensation.

15           Q.        For the clinical base formula the
16   total takes into account --

17           A.        Yes.

18           Q.        -- total compensation?

19           A.        Yes.

20           Q.        It also says right above that that no
21   member who receives an SIU SM base greater than or

22   equal to $114,000 will be eligible for a clinical

23   base, do you see that?

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 1           A.        Yes.

 2           Q.        So only tenure track physician

 3   members with an academic base of less than $114,000

 4   are eligible to receive a clinical base salary; is

 5   that correct?

 6           A.        Yes.

 7           Q.        If you go back to the top of the

 8   clinical base it says, the clinical base can be

 9   paid for clinical activities and for approved
10   HealthCare administrative responsibilities?

11           A.        I'm sorry, what page are you on?
12           Q.        Page 17279.

13           A.        Okay.    Yes.

14           Q.        So is compensation for HealthCare

15   administrative duties -- let me start over.
16   Compensation for administrative responsibilities

17   for the Business is paid through clinical base,

18   compensation for administrative responsibilities

19   for University is paid through the academic base?

20           A.        No.    I think what this is referencing
21   is that if the practice specifically asks a

22   physician to provide administrative duties they can

23   pay it through the practice plan, they can pay it

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 1   through this -- through the clinical base.            But

 2   it's not required to be paid.            They might have

 3   administrative duties that are clinical in nature

 4   but paid for on the School of Medicine.           It's not a

 5   clean line that every clinical administrative work

 6   versus academic, it just allows for it.

 7           Q.        Got it.      If you could refer back to

 8   Page 17289, --

 9           A.        Yes.
10           Q.        -- it refers to documentation of

11   compensation?
12           A.        Yes.

13           Q.        And then it goes on to describe all

14   of the documentation that -- of compensation that

15   the Business maintains, correct?
16           A.        Yes.

17           Q.        Is one of the employees who works

18   under your supervision responsible for assisting

19   the Business in maintaining this compensation --

20   this documentation of compensation?
21           A.        It wouldn't be one particular person

22   but there would be people who would provide

23   information to the Business to help compile this

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 1   information or maintain it.

 2           Q.        And you say it wouldn't be one

 3   particular person?

 4           A.        There isn't one person assigned to

 5   the Business as support for HR services, everyone

 6   in their particular role would provide support.

 7           Q.        Does HealthCare pay SIU -- does the

 8   Business pay the University for those services in

 9   the same way the Business pays the University for
10   you to be their CFO?

11           A.        No.    The Business pays a Dean's tax
12   that is overhead costs that the school has to

13   provide services to the rec -- to the Business.

14           Q.        Lump sum payment --

15           A.        Yep.
16           Q.        -- annually?

17           A.        Monthly.

18           Q.        Monthly.     For those services?

19           A.        Yeah.

20           Q.        So -- but ultimately the individuals
21   who report through the Office of Human Resources

22   are the individuals responsible for maintaining

23   documentation of compensation that's described in

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 1   the compensation plan?

 2           A.        Yes.    I mean, they -- we receive a

 3   lump sum, it's not laid out for each specific

 4   person or portion of time.

 5           Q.        I'm not certain you understood my

 6   question.

 7           A.        Okay.

 8           Q.        I'm not talking about how services --

 9   I'm not talking about how payment is made for
10   services necessary to comply with Article 9,

11   Documentation of the Compensation Plan, I'm not
12   talking about how that's -- who pays for those

13   services, I want to focus on who performs those

14   services.

15           A.        Okay.
16           Q.        And my question is, are the

17   individuals responsible for performing those

18   services employees of the Offices of Human --

19   Office of Human Resources that you described

20   earlier?
21           A.        Some of the folks responsible for

22   maintaining these files are in the Office of Human

23   Resources, some of the folks responsible for this

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 1   fall under the Business CFO.           They work together.

 2           Q.        If you could turn back to the

 3   organizational chart for the Business, Deposition

 4   Exhibit 4.

 5           A.        Uh-huh.      I'll get there.   Yes.

 6           Q.        The -- are there individuals who work

 7   for the Business in a non-medical capacity that

 8   aren't reflected on this chart?

 9           A.        I -- yes.      Although Nelson's the best
10   person to answer this.          I don't think this is a

11   comprehensive list.
12           Q.        Right.

13           A.        This is the leaders and their direct

14   reports, I believe.

15           Q.        Got it.      So -- and were the same
16   departments in place when you were -- generally

17   speaking, were the same departments in place when

18   you were the CFO of the Business?

19           A.        In general, yes.

20           Q.        And so, for example, whoever was in
21   charge of accounting when you were the CFO might

22   have had indirect reports?

23           A.        Yes.

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 1           Q.        Which departments identified on

 2   Exhibit 4 are responsible for maintaining the

 3   documentation described in Article 9 of the

 4   Compensation Plan?

 5           A.        When I was the CFO the person

 6   responsible would have been Carla Harney in

 7   Accounting.      Today, you'll have to ask Nelson.

 8           Q.        Sure.    Do you recall the part of the

 9   compensation plan that says prior years'
10   compensation will be considered?

11           A.        Yes.
12           Q.        Is that limited to a particular

13   component of compensation?

14           A.        I think the typical focus was on

15   clinical compensation.
16           Q.        What do you mean when you say the

17   typical focus?

18           A.        The clinical compensation was more

19   likely to vary than the academic compensation.

20           Q.        And why is that?
21           A.        Because the clinical component is

22   based on the actual clinical work performed by a

23   particular faculty member.

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 1           Q.        Do you know if reviewing and

 2   approving compensation, the compensation committee

 3   is presented with components of compensation as

 4   compared to an overall number?

 5           A.        I think the committee is shown both

 6   academic base and a total clinical compensation.

 7   That's my recollection of what the committee was

 8   provided.

 9           Q.        It's correct that the Dean of the
10   University has always been a member of the

11   Business's compensation committee, correct?
12           A.        Yes.

13           Q.        And it's correct that prior to 2000

14   -- well, how long has Dr. Kruse been the Dean?

15           A.        He just became the Dean January 1st
16   of 2016.

17           Q.        Right.       And prior to that who was the

18   Dean?

19           A.        Kevin Dorsey.

20           Q.        And --
21           A.        He was the Dean for about 15 years.

22           Q.        Great.       That's what I was going to

23   ask you.     He's been the Dean -- until Dr. Kruse he

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 1   was the Dean for the Medical School for the

 2   entirety of your employment with the University or

 3   the Business?

 4           A.        Yes.

 5           Q.        Do you know if he's still a member of

 6   the Business, a retired member practicing as an

 7   associate, associate member?

 8           A.        Is Kevin Dorsey an -- is that what

 9   you're asking me?
10           Q.        Yeah.

11           A.        Is Kevin Dorsey an associate member?
12   I believe he is providing services for the practice

13   plan.    He retired from being the Dean, he's not

14   retired from the medical school, he's still an

15   active member of the faculty.
16           Q.        The Dean is the only -- is it correct

17   that the compensation committee members include

18   individuals who are not employed by the Business or

19   the University?

20           A.        Well, the Dean has always been a
21   member and he was employed by the University, yes.

22           Q.        Right.       Right.   Other than him?

23           A.        Yes.    The rest of the members are not

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 1   employed by the University or the Business.

 2           Q.        Right.       If you could look back at

 3   Exhibit 2 -- no, I'm sorry, Exhibit 3, the

 4   organizational chart that shows the ten clinical

 5   departments.

 6           A.        Yes.

 7           Q.        Are the individual's names identified

 8   there the chairs of the departments?

 9           A.        Yes.
10           Q.        And are the chairs of the

11   departments, as reflected on Exhibit 3, all tenured
12   faculty members?

13           A.        I don't believe so.

14           Q.        Who do you believe is not a tenured

15   faculty member on Exhibit 3?
16           A.        Well, there are three departments

17   here that are -- that the School of Medicine

18   contracts with and that would be anesthesia,

19   pathology, and radiology.

20           Q.        And you say they contract with.      With
21   whom do they contract?

22           A.        Each of their individual

23   organizations to provide services, teaching

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 1   services to the University.

 2           Q.        What organization does the University

 3   contract with for the purposes of providing teams

 4   and services in its tenured anesthesiology

 5   department?

 6           A.        I don't know the specific name of the

 7   group but I can -- we can provide that for you.

 8           Q.        Do you know the name of the

 9   organization for pathology?
10           A.        Not the specific corporate name, no.

11           Q.        Do you know a doing business as name?
12           A.        No, no, no, no.

13           Q.        What about for radiology, do you know

14   the name of the organization that the University

15   contracts with for purposes of providing tenure
16   eligible teaching services in the radiology

17   department?

18           A.        I don't -- I don't recall off the top

19   of my head any of those corporate names or DBAs.

20           Q.        Are there any departments other than
21   anesthesiology, pathology, or radiology that are

22   not led by tenured faculty members?

23           A.        I don't believe so.

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 1           Q.        At what point in time was the

 2   anesthesiology -- let me start over.               Is it correct

 3   that even if not led by a tenured faculty member

 4   there are tenured track professors in

 5   anesthesiology, radiology, and pathology?

 6           A.        I don't believe so.            They were

 7   volunteer faculty.

 8           Q.        So is Reginald Bulkley, who's

 9   identified here as the chair of the Department of
10   Anesthesiology, an employee of the University?

11           A.        I don't believe so.
12           Q.        Is Sanjai Nagendra, as identified as

13   the chair of the Department of Pathology, an

14   employee of the University?

15           A.        I don't believe so.
16           Q.        Is Andrew Sherrick, who's identified

17   as the chair of the Department of Radiology, an

18   employee of the University?

19           A.        I don't believe so.

20           Q.        If they're not employees of the
21   University by definition they're not members of the

22   Business, correct?

23           A.        That's right.

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 1           Q.        Are you aware of whether there are

 2   tenure track professors -- I'm sorry, tenure track

 3   physician members -- maybe I asked this already.

 4   To your knowledge, is it correct that there are no

 5   tenure track physician members in the departments

 6   of anesthesiology, pathology and radiology?           Is

 7   that correct?

 8           A.        To my knowledge there are -- no, they

 9   are not.
10           Q.        Since your employment with the

11   University began has the anesthesiology department
12   always been contracted?

13           A.        Yes.

14           Q.        Since your employment with the

15   University began has the pathology department
16   always been contracted?

17           A.        Yes.

18           Q.        Since your employment with the

19   University began has the department of radiology

20   always been contracted?
21           A.        Yes.

22           Q.        Putting aside the departments of

23   radiology, pathology, and anesthesiology, there are

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 1   seven clinical departments identified on Exhibit 3,

 2   correct?

 3           A.        Yes.

 4           Q.        Are all seven of those led by tenured

 5   faculty members as reflected on Exhibit 3?

 6           A.        I don't believe they're all tenured.

 7   I'd have to take a look at our document.

 8           Q.        What's your document?

 9           A.        Well, the document that we provided
10   to you that listed all the faculty members.

11                     MR. WILSON:      I think in answer to one
12   of your interrogatories, Bryan, there was a

13   spreadsheet that listed names, addresses, titles by

14   fiscal years.

15                     MR. WOOD:      Uh-huh.
16                     THE WITNESS:       Being tenured is not a

17   requirement of being a chair.

18                     MR. WOOD:      Thank you.

19                     MR. WILSON:      I think in reference as

20   an attachment to Interrogatory 1 or 2 you asked
21   about compensation for everybody.

22                     MR. WOOD:      Right.     Do you guys have

23   Wi-Fi, by chance?

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 1                     MR. WILSON:      We do, I couldn't tell

 2   you the code.      I can get you a copy of the

 3   spreadsheet if that's what you want?             If you're

 4   going to ask her to look at it.

 5                     MR. WOOD:      That -- why don't we go

 6   off the record for a second.

 7                     (At this point in the proceedings an

 8   off the record discussion was held, after which the

 9   following proceedings were conducted;)
10                     BY:   MR. WOOD

11           Q.        Ms. Cox-Largent, I believe just
12   before we broke you indicated it is not a

13   requirement to be a department chair that a person

14   is a tenured faculty member; is that correct?

15           A.        It's not a requirement, no.
16           Q.        How do you become department chair?

17   What's the process by which an individual becomes a

18   department chair?

19           A.        When there's a position open for a

20   department chair we would -- we would open the
21   position officially as part of the University

22   process for opening a position.             We may or may not

23   engage a search firm to assist us in the process.

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 1   We would convene a search committee, we would

 2   develop a job description, we'd call for

 3   applicants.      The search committee would review --

 4   would review the applicants, recommend the

 5   applicants that they want to interview, then the

 6   applicants would go through the interview process.

 7                     A candidate ultimately gets

 8   recommended -- candidates get recommended by the

 9   search committee to the Dean.            They then interview
10   with a broader group of people and evaluations are

11   obtained.     And ultimately the Dean makes the
12   recommend -- makes the final approval for who he

13   would like to hire or appoint as department chair.

14           Q.        From the process you described it

15   sounds like department chair is not an
16   administrative responsibility that would merely

17   rotate among members of a department?

18           A.        No, not typically.         I mean, there

19   might be someone in a department that might serve

20   in an interim role.        But no, you would want someone
21   to have the appropriate administrative and academic

22   experience.

23           Q.        Department chair is not something

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 1   that is reflected in an individual's job title; is

 2   that correct?

 3           A.        No.   A department chair would be

 4   listed in their job title, it wouldn't necessarily

 5   be listed as part of their rank.             You know, we

 6   described the different ranks that were available

 7   but a department chair might have several titles in

 8   addition to being a chair and a professor or

 9   associate professor.
10           Q.        The process that you just described

11   -- let me start over.          Do you know who proceeded
12   Dr. Albers as the department chair of family and

13   community medicine?

14           A.        I think John Bradley was the interim

15   chair.    I'm not sure if he was the permanent but he
16   was an interim chair.

17           Q.        Do you know who proceeded John

18   Bradley?

19           A.        Jerry Kruse.

20           Q.        Is Dean an elected position by the
21   faculty members?

22           A.        Is the Dean?

23           Q.        Right.

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 1           A.        No, uh-uh.      The faculty makes

 2   recommendations but it's not elected.

 3           Q.        The Board of Trustees determines who

 4   the Dean is?

 5           A.        Upon recommendation from the

 6   President and Chancellor, yes.

 7           Q.        Do you know who proceeded Jerry Kruse

 8   as the department chair?

 9           A.        No.   He was the department chair for
10   -- he was the chair of family medicine for a long

11   time, at least the entire time I've been there.
12           Q.        Do you know who proceeded John Flack

13   as the chair of internal medicine?

14           A.        There was an interim chair for some

15   period of time, I'd guess a year to 18 months, that
16   was Sue Hingle.       And then prior to that the long

17   term chair was David Steward.

18           Q.        Did you say Sue Hingle?

19           A.        H-I-N-G-L-E.

20           Q.        Do you know who proceeded Dr.
21   Gilchrist as the chair of neurology?

22           A.        That was Dr. Elble.

23           Q.        E-L-B-Y?

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 1           A.        E-L-B-L-E, I believe.

 2           Q.        Do you know who proceeded Dr. Elble?

 3           A.        He was again chair for a long time,

 4   the entire time I've been there.

 5           Q.        Do you know who proceeded Dr. Loret

 6   de Mola as chair of obstetrics and gynecology?

 7           A.        He's been chair for OB/Gyn since I've

 8   been here.

 9           Q.        You know who proceeded Dr. Carson --
10   Dr. Carlson as the chair of pediatrics?

11           A.        Mark Puczynski.
12           Q.        Say that again?

13           A.        Mark Puczynski, P-U-C -- I don't know

14   about that one.

15           Q.        I wasn't --
16                     MR. WILSON:      We can look that one up.

17                     MR. WOOD:      I wasn't going to guess on

18   that one.     I knew that wasn't going to work.

19                     THE WITNESS:       Yeah.       I always have to

20   search him in e-mail to get his name.
21   P-U-C-Z-Y-N-S-K-I.

22                     MR. WILSON:      Just hold on to that in

23   case you need it.

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 1                     THE WITNESS:       Okay.

 2                     MR. WOOD:      I think she might want a

 3   copy more than anyone.

 4                     BY:   MR. WOOD

 5           Q.        Who proceeded Dr. Puczynski as --

 6           A.        He was chair when I arrive.

 7           Q.        Who proceeded Dr. Soltys

 8    as chair of psychiatry?

 9           A.        Dr. Soltys was the chair when I
10   arrived.     He has since retired.          There was an

11   interim chair for a couple months, Jeff Bennett,
12   and the new chair just started a couple weeks ago,

13   that's Chari Wolfe.

14           Q.        W-O-L-F-E?

15           A.        Uh-huh.
16           Q.        And who -- all right.          Just so it's

17   all here.     Who proceed Dr. Neumeister as chair of

18   surgery?

19           A.        Gary Dunnington.

20           Q.        Do you know approximately how long
21   Dr. Bradley served as interim chair of family?

22           A.        I'm going to guess 18 to 12 -- 12 to

23   18 months, something like that.

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 1           Q.        Do you know how long Sue Hingle

 2   served as interim chair of internal medicine?

 3           A.        I would guess about the same, 12 to

 4   18 months.

 5           Q.        Can't remember if you identified the

 6   interim chair for Dr. Soltys.

 7           A.        Jeff Bennett.       That was only two or

 8   three months.

 9           Q.        Dr. Hingle's first name's Susan?
10           A.        Yes.

11           Q.        Any other individuals that served as
12   department chairs of any of the seven

13   non-contracted tenure granting clinical departments

14   in Springfield during the time that you have worked

15   for the University or the Business?
16           A.        Not to my recollection.

17                     MR. CLASBY:      Can we go off the record

18   for just a second?

19                     MR. WOOD:      Sure.

20                     (At this point in the proceedings an
21   off the record discussion was held, after which the

22   following proceedings were conducted;)

23                     BY:    MR. WOOD

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 1           Q.        Ms. Cox-Largent, you testified about

 2   the Dean's staff having regularly scheduled

 3   meetings twice monthly that occur approximately

 4   once monthly regularly.          Do the department chairs

 5   regularly meet with the Dean on a similar basis?

 6           A.        The clinic -- yes.         Both groups, both

 7   the clinical and the basic science chairs, meet

 8   with him --

 9           Q.        Together?
10           A.        -- regularly scheduled meetings.

11           Q.        Together?
12           A.        No, they have separate meetings.

13           Q.        Approximately how often do those

14   meetings occur?

15           A.        The clinical chairs are a couple
16   times a month, the basic science chairs are -- I

17   think they're quarterly.

18           Q.        Have you ever attended meetings with

19   the clinical department chairs and the Dean?

20           A.        Yes.
21           Q.        Is there someone who's designated to

22   take key notes of those meetings?

23           A.        No.

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 1           Q.        Do you know if that's an invite to

 2   those meetings, calendar invite, agenda?

 3           A.        No, there's not an agenda.          Usually

 4   the assistant's secretaries call and schedule those

 5   meetings.     I mean, they're typically scheduled as

 6   standing meetings at the beginning of the year.

 7           Q.        Are there records that you're aware

 8   of within the Office of Human Resources that would

 9   identify the dates or periods for which an
10   individual served as a department chair?

11           A.        Each faculty member would have
12   appointment paperwork that would describe their

13   role as a department chair.

14           Q.        In the position description that is

15   prepared approximate -- annually for each position?
16           A.        Well, I said the appointment

17   paperwork.     So there's a specific appointment

18   paperwork that they complete.            But the position

19   description would also define department chair.

20           Q.        Would appointment paperwork exist for
21   interim department chairs?

22           A.        Yes.

23           Q.        Earlier you described the recruitment

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 1   process as an example for the Dean -- I'm sorry, as

 2   an example for a department chair?

 3           A.        Yes.

 4           Q.        I'll show you what -- we'll mark

 5   that.

 6                     (At which time, Cox-Largent

 7   Deposition Exhibit Number 14 was marked for

 8   identification and the following proceedings were

 9   conducted;)
10                     BY:    MR. WOOD

11           Q.        Does this describe the recruitment
12   process that would be used to hire a tenure track

13   physician member of the Business?

14           A.        Yes.

15           Q.        It's got a date of January 8th, 2016
16   in the lower left corner, do you see that?

17           A.        Yes.

18           Q.        Has the process for appointment

19   changed from what's reflected on this chart during

20   your employment with the University?
21           A.        Not substantially.

22           Q.        It starts with a department

23   requesting a position being filled, correct?

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 1           A.        Yes.

 2           Q.        And at that time is a recommended

 3   compensation for the position identified?

 4           A.        Well, it depends a little on the --

 5   well, yes.     I mean, it depends on the position as

 6   to how it's put together.          But an estimate of what

 7   clinical -- what academic and clinical comp will be

 8   if it's established.

 9           Q.        For the purposes of my questions
10   about the hiring process and the compensation

11   questions you can assume that I am talking about a
12   process for tenure track physician members of the

13   Business.

14           A.        Okay.

15           Q.        So these would be individuals who
16   were going to go work in one of the seven clinical

17   departments reflected on Exhibit 3 in one of the

18   three -- in one of the particular ranks that we had

19   discussed.     Do you know if the compensation --

20   estimated compensation for the position will
21   include a base salary -- an academic base salary

22   and a clinical component of compensation?

23           A.        Let me think about this for a second.

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 1   Yes, I believe estimates of both are put on -- are

 2   established in the opening of a position.

 3           Q.        And there is a recruitment tracking

 4   form that's used as a part of that process?

 5           A.        Recruitment tracking form.          We have a

 6   system that tracks recruitment for us.

 7           Q.        Is that called Hire Point?

 8           A.        Hire Touch.

 9           Q.        Hire Touch?
10           A.        Yep.

11           Q.        When was that implemented?
12           A.        2012.

13           Q.        So that system would identify the

14   initial recommend -- initial compensation for the

15   position, --
16           A.        Yes.

17           Q.        -- correct?

18           A.        Yes.

19           Q.        And prior to the implemention --

20   implementation of Hire Touch, do you recall a
21   recruitment tracking form being used?

22           A.        I don't know what the title of the

23   form was.     I do recall that there's a number of --

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 1   there's several pieces of paperwork that someone

 2   has to -- the department has to complete to open a

 3   position and that includes compensation.

 4           Q.        But from the beginning there's an

 5   initial estimated compensation for the position?

 6           A.        Yes.

 7           Q.        And then affirmative -- according to

 8   the process, affirmative action reviews that?

 9           A.        Yes.
10           Q.        And the Office of Management Budget

11   reviews that?
12           A.        Yes.

13           Q.        And the Business reviews that; is

14   that correct?

15           A.        Yes.
16           Q.        And then the Dean reviews that prior

17   to the position being posted?

18           A.        Yes.

19           Q.        Once a candidate's selected and

20   compensation is determined compensation that is
21   ultimately recommended to be paid to the candidate

22   is again reviewed by affirmative action, correct?

23           A.        Yes.

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 1           Q.        Again reviewed by Physicians and

 2   Surgeons, Inc., the Business, correct?

 3           A.        Yes.

 4           Q.        And again reviewed by the Dean and

 5   the Provost of the University prior to appointment;

 6   is that correct?

 7           A.        As well as the Office of Management

 8   and Budget, yes.

 9           Q.        Sorry.       Forgot the Office of
10   Management and Budget.          And that's true for all

11   tenure track physician members of the Business?
12           A.        Yes.

13           Q.        Is Hire Touch a system that just

14   stores information, does it also store documents?

15           A.        It also stores documents.
16           Q.        So if I'm a candidate, I submit a

17   resumé or CV or letter of recommendation,

18   reference, that could be uploaded into the Hire

19   Touch system?

20           A.        Yes.
21           Q.        Under the paper system, was it

22   correct that the approvals for appointment were

23   intended to have the CV's of the candidates

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 1   selected and their references attached?

 2           A.        Well, definitely the CV's, that would

 3   have to be a part of the process.                Are you asking

 4   if -- I mean, are you asking for maintaining that

 5   information in the department or HR or as part of

 6   the approval process?

 7           Q.        Part of the approval process.

 8           A.        I don't believe all of those pieces

 9   would go -- would circulate as part of the approval
10   process.

11           Q.        Let me see if I can help you
12   remember.     Show you two documents.

13                     (At which time, Cox-Largent

14   Deposition Exhibit Number 15 was marked for

15   identification and the following proceedings were
16   conducted;)

17                     BY:    MR. WOOD

18           Q.        Take as much time as you need to know

19   -- as you need to and let me know when you've had a

20   chance to finish reviewing Exhibit 15.
21           A.        Yes.

22           Q.        So this is the recruitment tracking

23   form that I was referring to.

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 1           A.        Okay.

 2           Q.        These are the approval -- it reflects

 3   the approvals necessary to post a position for

 4   hire; is that correct?

 5           A.        Yes.

 6           Q.        And it identifies an initial academic

 7   base, an initial clinical base, and an initial

 8   clinical compensation for a total recommended

 9   initial compensation; is that correct?
10           A.        Yes.

11           Q.        That's the proposed?
12           A.        Yes.

13           Q.        There are spaces for the 25th median

14   and 75th percentile of AAMC data; is that correct?

15           A.        Yes.
16           Q.        Do you see that?

17           A.        Uh-huh.

18           Q.        On this form those are blank?

19           A.        Yes.

20                     (At which time, Cox-Largent
21   Deposition Exhibit Number 16 was marked for

22   identification and the following proceedings were

23   conducted;)

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 1                     BY:    MR. WOOD

 2           Q.        Take as much time as you need to look

 3   over Deposition Exhibit Number 16.               Have you

 4   reviewed Exhibit Number 16?

 5           A.        Yes.

 6           Q.        Okay.    On the first page it appears

 7   to indicate that it is a four page fax sent from

 8   you on September -- I'm sorry, on July 30th, 2008.

 9   You see that?
10           A.        Yes.

11           Q.        If you turn to the second page in the
12   lower left box it says, documentation required to

13   be attached.      It says, copy of resumé or CV for the

14   proposed hire?

15           A.        Yes.
16           Q.        It says, list of references checked

17   on finalists.      And there's some handwriting in

18   there that says a name, Dr. Carlos Pellegrini?

19           A.        Yes.

20           Q.        It says, completed release for
21   background investigation, regulatory training form,

22   and then there's a fifth option for documentation

23   if that individual is going to be hired at the rank

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 1   of associate professor or above, do you see that?

 2           A.        Yes.

 3           Q.        Does this refresh your recollection

 4   that in the approval forms to make offers for

 5   individuals into tenure track physician members --

 6   sorry, into positions to be filled by tenure track

 7   physician members that there was documentation to

 8   be attached to the approval form as a part of the

 9   normal practice?
10           A.        Yes.    You asked if there was a copy

11   of the resumé or CV and I said yes.               I said I don't
12   recall there being a requirement of reference

13   letters attached, you're only required to note that

14   there were references and what they were.

15           Q.        Right.       And this shows that there's
16   approval of an offer for -- by the affirmative

17   action of Physicians and Surgeons, Inc. and then

18   also the Dean and the Provost, do you see that, in

19   the right-hand corner?

20           A.        I do.
21           Q.        And that same information that used

22   to be maintained on paper is now maintained in the

23   Hire Touch system?

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 1           A.        Yes.

 2           Q.        And it's after appointment that a

 3   tenure track physician member would be required to

 4   execute a member agreement like the one that we

 5   looked at as Exhibit Number 8?            I'm sorry, as

 6   Exhibit Number 10.

 7           A.        The Member Practice Agreement?

 8           Q.        The Member Practice Agreement.

 9           A.        Yes.
10           Q.        Okay.    And then in conjunction with

11   that the member would execute the Compensation
12   Agreement referenced in the Member Practice

13   Agreement?

14           A.        Yes.

15           Q.        And then each tenure track physician
16   member would be required to execute a new one of

17   those annually?

18           A.        Compensation Agreement, yes.

19           Q.        The Compensation Agreement, correct.

20   And the Compensation Agreement would reflect their
21   anticipated compensation for the coming year?

22           A.        Yes.

23           Q.        And then that actual compensation

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 1   would be determined pursuant to the compensation

 2   plan?

 3           A.        Yes.

 4           Q.        And then each year each tenure track

 5   position physician member's compensation is

 6   reviewed by the Dean and the compensation

 7   committee, correct?

 8           A.        Yes.

 9           Q.        What time of year does that change in
10   review process occur?          It coincides with the fiscal

11   year?
12           A.        Yes.

13           Q.        And what's the fiscal year at --

14           A.        July 1st to June 30th.

15           Q.        Today is August 25th, 2016 on my
16   calendar.     In what fiscal year are we in for

17   purposes of the University and the Business?

18           A.        Fiscal year '17.

19           Q.        Can I tell you how many times I got

20   that confused in depositions until I realized why
21   don't we just ask what today is.             So fiscal year

22   2017 started July 1st, 2016?

23           A.        Yes.

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 1           Q.        What personal involvement have you

 2   had in the process for determining any tenure track

 3   physician member's compensation?

 4           A.        Well, I've been asked to provide

 5   input in the process in both my role as the CFO and

 6   as the Provost.

 7           Q.        Input into the process?

 8           A.        I'm sorry.      Input into the

 9   calculation.      I've provided data.
10           Q.        The survey data, for example, that

11   you're describing?
12           A.        Yes, uh-huh.

13           Q.        Any other involvement?

14           A.        Sure.    Equity.     I mean, we might look

15   at equity across the institution.                Most of the
16   compensation was determined by the department chair

17   -- or recommended by the department chair.

18           Q.        I recall seeing in the tenure

19   approval processes a means of addressing the fact

20   that a department chair may not be led by a tenured
21   professor and therefore an external committee

22   outside of the department would be created to

23   evaluate an individual for a particular department

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 1   for tenure.      Are you familiar with what I'm

 2   describing?

 3           A.        That happens whether the chair is

 4   tenured or not.       There's an outside committee,

 5   tenure promotion committee.

 6           Q.        That evaluates it after the

 7   department?

 8           A.        Yes.

 9           Q.        Okay.    Do department chairs make
10   recommendations for their own pay?

11           A.        No.    That's done by the Dean and
12   Provost.

13           Q.        At the end of the compensation

14   committee's review process the Dean still has the

15   latitude to adjust compensation up or down for any
16   tenure track physician member of the Business by

17   ten percent, correct?

18                     MR. WILSON:      Are you talking initial

19   compensation or the annual review process?

20                     MR. WOOD:      As a part of the annual
21   review process.

22                     MR. WILSON:      Okay.

23                     THE WITNESS:       What document are you

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 1   referencing?

 2                     BY:    MR. WOOD

 3           Q.        I'll show you what is Number 17.

 4                     (At which time, Cox-Largent

 5   Deposition Exhibit Number 17 was marked for

 6   identification and the following proceedings were

 7   conducted;)

 8                     BY:    MR. WOOD

 9           Q.        So Deposition Exhibit 17 predates
10   your employment with University or the Business.

11   But do you recognize it as being consistent with
12   minutes of the compensation committee that you have

13   seen in your capacity as the CFO of the Business?

14           A.        Yes.

15           Q.        And just so we can clarify, Kevin
16   Dorsey is the Dean -- or was the Dean at this time,

17   correct?

18           A.        Yes.

19           Q.        Are you familiar with who the other

20   individuals were?
21           A.        Sergio Pecori was a board member who

22   was not employed by the school and was a board

23   member when I started with the school.           I'm not

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 1   familiar with Richard McCord.

 2           Q.        And what about Peter Cadwell and

 3   David Tkach?

 4           A.        Sure.    So they were staff to the

 5   committee.     Peter Cadwell was the CFO that was my

 6   predecessor and David Tkach was the CEO at the

 7   time.

 8           Q.        Of the Business?

 9           A.        Of the Business, uh-huh.
10           Q.        And you said Mr. McCord was a member

11   of the board.      He's a member of the board of the
12   Business?

13           A.        Yes, uh-huh.

14           Q.        So if you turn to the second page.

15           A.        Uh-huh.
16           Q.        Just above the heading Fiscal Year

17   2016, Department-Level Academic Incentive Plans is

18   a sentence that says, "A motion was made to accept

19   the recommended FY07 member compensation contracts,

20   seconded, and the vote to approve was unanimous.
21   The Dean, as in years past, will be granted

22   authority to increase individual contracts by up to

23   10 percent without reconvening the Compensation

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 1   Committee for approval."          You see that?

 2           A.        Yes.

 3           Q.        Okay.    Was it your understanding that

 4   that Dean had that authority from the compensation

 5   committee when you were CFO of the Business?

 6           A.        No, I don't recall that.

 7           Q.        Show you what's been marked -- we'll

 8   mark as Exhibit Number 18.

 9                     (At which time, Cox-Largent
10   Deposition Exhibit Number 18 was marked for

11   identification and the following proceedings were
12   conducted;)

13                     BY:    MR. WOOD

14           Q.        You can take as much time as you need

15   to review the document, let me know when you're
16   ready to answer.

17           A.        Okay.

18           Q.        Do you recognize this as minutes of a

19   compensation committee meeting on July 14th, 2008

20   at 3:30 that you participated in by teleconference?
21           A.        Yes.

22           Q.        You were at that time CFO of

23   Business, correct?

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 1           A.        Yes, uh-huh.

 2           Q.        And you were participating as staff

 3   along with Mr. Cadwell and Mr. Tkach in the same

 4   capacity as staff --

 5           A.        Yes.

 6           Q.        -- to the committee; is that correct?

 7           A.        Yes.

 8           Q.        All right.      And Dr. Dorsey was still

 9   the Dean and Mr. Bunn and Mr. Pecori were members
10   of the board of the Business?

11           A.        Yes.
12           Q.        If you could turn to the next page.

13   Just above the heading that says Fiscal Year 2009

14   Department-Level Academic Plans is the sentence

15   that says -- two sentences, "A motion was made to
16   accept the Fiscal Year 2009 member compensation

17   contracts, was seconded and unanimously approved.

18   The Dean in his new status will be granted

19   authority to increase individual contract amounts

20   by ten percent without reconvening the Compensation
21   Committee."      Do you see that?

22           A.        Yes.

23           Q.        Does that refresh your recollection

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 1   that the Dean had authority to increase

 2   compensation for tenure track position members of

 3   the Business during the time that you worked there

 4   as a CFO?

 5           A.        I believe the minutes to be accurate.

 6           Q.        Okay.    Do you know who was

 7   responsible for keeping these minutes?

 8           A.        Well, typically it would have been my

 9   position but I was out of town so I didn't take the
10   minutes.

11           Q.        At this particular compensation
12   committee meeting?

13           A.        Yes.

14           Q.        Generally speaking, was it the CFO's

15   responsibility to keep the minutes --
16           A.        Yes.

17           Q.        -- of the compensation committee

18   meeting?

19           A.        Yes.

20           Q.        Got it.      So with respect to initial
21   and annual compensation for tenure track physician

22   members of the Business a recommendation is made by

23   a department chair but that recommendation is

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 1   subject to review by the Dean and the compensation

 2   committee of the Business, correct?

 3           A.        I'm sorry.      Did you say for new hires

 4   or for continuing employment?

 5           Q.        Either one.

 6           A.        The compensation committee doesn't

 7   review compensation of new employees.            They review

 8   once a year as part of the -- as part of the

 9   compensation plan.
10           Q.        So just any -- so they would be any

11   adjustments to whatever compensation has -- the
12   University and the Business have agreed to pay a

13   new hire?

14           A.        Yes.

15           Q.        Okay.    And after that the Dean can
16   still adjust compensation by ten percent --

17   increase it by ten percent; is that correct?

18           A.        According to the minutes, yes.

19           Q.        Is it correct that you did not

20   communicate with anyone other than attorneys to
21   prepare for your deposition on behalf of the

22   University today; is that accurate?

23           A.        The attorneys and Nelson.

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 1           Q.        Correct.

 2           A.        We all met, yes.

 3           Q.        Sorry.       Right.   Do you recall that

 4   you gave a deposition in a related matter for the

 5   Department of Labor regarding the process by which

 6   individuals receive Visas to work at the

 7   University?

 8           A.        I participated in a deposition,

 9   yes, --
10           Q.        Okay.

11           A.        -- related to the Department of Labor
12   case.

13           Q.        Okay.    Did you get the chance to

14   review your testimony, the transcript of your

15   testimony in that case?
16           A.        I don't think so.

17                     MR. WOOD:       If we can go off the

18   record for a quick second.

19                     MR. WILSON:       Sure.

20                     (At this point in the proceedings a
21   short recess was taken, at which time Cox-Largent

22   Deposition Exhibit Numbers 19 through 21 were

23   marked for identification and the following

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 1   proceedings were conducted;)

 2                     BY:    MR. WOOD

 3            Q.       Ms. Cox-Largent, if you could take a

 4   look at Exhibit 19.

 5            A.       Yes.

 6            Q.       Is this an example of a Compensation

 7   Agreement?

 8            A.       Yes.

 9            Q.       And then if you could take a look at
10   Exhibit Number 20, that would be another example?

11            A.       Yes.
12            Q.       If you could take a look at Exhibit

13   21.

14            A.       Yes.

15            Q.       Have you seen Exhibit 21 before?
16            A.       Yes.

17            Q.       Was it in the context of preparing

18   for this deposition?

19            A.       Yes.

20            Q.       Does it accurately identify which
21   years individuals served on the Business's

22   compensation committee?

23            A.       I believe so.       I can't really speak

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 1   to the time before I was here.            But it looks

 2   accurate.

 3           Q.        So from the period from 2008 to 2016

 4   it appears accurate?

 5           A.        Yes.

 6                     MR. WOOD:      I don't think I have any

 7   other questions for you at this point.

 8                     THE WITNESS:       Okay.

 9                     MR. WILSON:      Before we close the
10   record, two things.        First, having gone about five

11   hours, I believe Ms. Cox-Largent has been able to
12   address all of your questions.            Is there any

13   question that you asked her you don't believe she

14   adequately addressed that you still need

15   information on?
16                     MR. WOOD:      Yes.    There are topics

17   identified in the declaration -- in the deposition

18   notice for which I asked questions that she

19   acknowledged she did not have information and that

20   we would need, or could be provided.
21                     MR. WILSON:      Okay.     Do you recall any

22   of those at this point?

23                     MR. WOOD:      Yeah.    An org chart for HR

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 1   would be one example of a piece of information that

 2   would fall within the categories that are covered

 3   by the notice that she wasn't able to provide.

 4                     MR. WILSON:      Okay.     So if you'll get

 5   me a list of what you're still looking for, we'll

 6   provide that.

 7                     MR. WOOD:      I will absolutely

 8   follow-up on any pieces of information that we

 9   believe that we still need, either in response to
10   this particular deposition notice or other

11   discovery -- pieces of discovery that have been
12   requested.

13                     MR. WILSON:      Yeah.     And that's fine.

14   I recall one or two times that she said I don't

15   know the answer to that question.                I just wanted to
16   make sure that there's anything in particular that

17   you recall at this point that you're still looking

18   for besides an organizational chart for HR.

19                     MR. WOOD:      There's nothing that comes

20   to mind offhand.       But I've already switched my
21   mental preparation to our next witness so I haven't

22   spent much time thinking about it.                But we'll

23   definitely follow-up.          And it's not my desire to

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 1   bring back Ms. Cox-Largent to answer questions that

 2   she doesn't know the answer to.             Like, I don't mean

 3   -- I believe that the best way to get that

 4   information would not necessarily be through

 5   another deposition.

 6                     MR. WILSON:      And second, the

 7   recording of a deposition by private means, I've

 8   never seen it done before.           I have no objection to

 9   it since we do have a copy of the transcript of the
10   actual testimony but I would ask for a copy of the

11   video.
12                     MR. WOOD:      Absolutely.     We'll get you

13   a copy of the video and the official stenographic

14   version is what will be used for the base of the

15   transcript.
16                     MR. WILSON:      That's fine.

17                     MR. WOOD:      Any questions that you

18   have for her?

19                     MR. WILSON:      No.

20                     MR. WOOD:      All right.      I think we're
21   ready to get started on the next witness.             Thanks,

22   Ms. Cox-Largent.

23           (Deposition was concluded at 3:35 p.m.)

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 1        CERTIFIED SHORTHAND REPORTER'S CERTIFICATION

 2
                   I, JILL A. BLESKEY, Certified
 3   Shorthand Reporter, Registered Professional
     Reporter, and Notary Public of the State of
 4   Illinois, do hereby certify that WENDY COX-LARGENT,
     the deponent herein, was by me first duly sworn to
 5   tell the truth, the whole truth, and nothing but
     the truth in the aforementioned cause of action.
 6            That the foregoing deposition was taken on
     behalf of the Plaintiff on August 25th, 2016.
 7            That said deposition was taken down in
     stenographic notes and afterwards reduced to
 8   typewriting under my instruction and said
     transcription is a true record of the testimony
 9   given; and that it was agreed by and between the
     witness and attorneys that said signature on said
10   deposition would be reserved.
              I do hereby certify that I am a
11   disinterested person in this cause of action; that
     I am not a relative of any party or any attorney of
12   record in this cause, or an attorney for any party
     herein, or otherwise interested in the event of
13   this action, and am not in the employ of the
     attorneys for either party.
14            Dated this 7th day of September, 2016.

15
16
                              ________________________________
17                                Jill A. Bleskey, CSR-RPR

18

19

20
     "OFFICIAL SEAL"
21   Jill A. Bleskey
     Notary Public, State of Illinois
22   My Commission Expires 4/25/20

23

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 1               C E R T I F I C A T I O N            P A G E

 2             IN THE UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF ILLINOIS
 3                     SPRINGFIELD DIVISION

 4
     SAJIDA AHAD, M.D., on                  )
 5   behalf of herself and all              )
     others similarly situated,             )
 6                                          )
          Plaintiff,                        )
 7                                          )
          -vs-                              )    No. 3:15-CV-3308
 8                                          )
     SOUTHERN ILLINOIS School of            )
 9   Medicine, et al.,                      )
                                            )
10        Defendants.                       )

11
12

13
               I, WENDY COX-LARGENT, do hereby certify
14   that I have read the foregoing transcript of the
     deposition taken on August 25th, 2016, before Jill
15   A. Bleskey, C.S.R., R.P.R., and that the same is
     correct and true, except as may be noted on the
16   attached sheet(s) entitled DEPONENT'S CORRECTION
     SHEET(S).
17

18                     _________ correction sheets attached.

19

20                     ________________________________
                              Witness signature
21

22

23

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 1                  DEPONENT'S CORRECTION SHEET

 2   DEPOSITION DATE:               AUGUST 25, 2016
     DEPOSITION OF:                 WENDY COX-LARGENT
 3   CASE NAME:                     AHAD VS. SIU SCHOOL OF
                                    MEDICINE, ET AL.
 4

 5

 6   CHANGE/CORRECTION

 7   PAGE/LINE                REASON

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